Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 1 of 59

QUITCLAIM DEED

WE, RELOACTION, a California Corporation having an address of 7901 Stoneridge
Drive, Suite 90, Pleasanton, California 95488, in consideration paid of

Three Hundred Fifteen Thousand Dollars and 00/100 SOIR Habs
($ 315,000.00 ), grants to Daniel J. Galvin, Individually
WITH

QUITCLAIM COVENANTS

Two parcels of land located on Walden Court in the “Holland Woods” subdivision off
Pleasant Street, Leominster, Massachusetts, identified as Lot 13A and 13B on a Plan
entitled “Plan of Land in Leominster, Mass., prepared for Daniel E. Lattanzio dated June
12, 2000, Whiteman & Bingham Associates, Inc. Registered Professional Engineers &
Land Surveyors, 510 Mechanic Street, Leominster, Massachusetts 01453”, recorded with
the Worcester North Registry of Deeds in Book 412, Page 17.

‘of

     
 

e original

 

Lot 13A is subject to and with the benefit of the encumbrances, easements and
declarations as set forth in deed from said Daniel E, Lattanzio from Tanco Corporation
duly recorded with Worcester North Registry of Deeds in Book 3576, Page 140.

Lot 13B is subject to and with the benefit of the encumbrances, easements and
declarations as set forth in deed ta said Emest E. Lattanzio fram Carter Hill Capital

Corporation duly recorded with Worcester North Registry of Deeds in Book 03188, Page
305,

(R Wdlden Cot Leeminster, MA 1453

CERTIFICATION

The undersigned. an attomey at law. certifies that
y i$ a true complete c

 

this copy of the foregoing. furnished by undersigned

See corporate vote recorded immediately prior hereto.

The within conveyed premises do not constitute all or substantially all of the property of
the grantor and is made in the usual course of business.

Srvitle Pheu of EXHIBIT

tabbies*

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 2 of 59

J

Bk 433564 FasVO? F2BSS2

Being the same premises conveyed by deed recorded with the Worcester North District
Registry of Deeds immediately prior hereto.

EXECUTED as a sealed instrument this_l|+h day of Sepfemtes 2002

BAO

Edger fina

 

  
   

ee He,
LORE SUS f
Commission 7° 749

Notary Public =-C on. g
Mamsd2C out ir
Cer ite tore

STATE OF: CAL/FeRN Ih

 
   

COUNTY OF: ALA/4E04

= SS
ee

DATE: Wu Joo

Before me personally appeared £dlgar Co fiac— , to me known to be the
person(s) described in and who executed the foregoing instrument, and acknowledged
that he/she/they executed the same as their fee act and deed.

UP ()

—— Ou We aie

Notary Public Lov i Dugue
My Commission Expires fUgiuchizm, 201°

0) & i
a A BS EMT
= i = OMA
ye Pa WO
* e] ow o
bat e r
- ‘ZOO
td me
ff mG)
‘ i | G)
- | I fa
Oo &§ Re Be

  

ATTEST: NO. WORC. REGISTRY OF DEEDS
JOHN B. McLAUGHLIN, REGISTER r

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 3 of 59

Bk 4356 P

g75 23331
10-04-2002 & OBEN

CERTIFICATE OF SECRETARY

The undersigned, being the duly elected Secretary of ReloAction, a California corporation (the
"CORPORATION"), certifies as follows:

I. I am the duly elected Secretary of the CORPORATION.

2: Effective January 29, 1997, the Board of Directors of the CORPORATION duly
adopted the following resolution:
WHEREAS, it is in the best interest of the CORPORATION for the officers of the

CORPORATION to authorize certain officers or employees of the CORPORATION to
contract to purchase, purchase, contract to sell, sell, transfer, and convey real property of

  
 

 

the CORPORATION;
AKBARIAN, LINDA GAMMON, VANESSA

ALBRECHT, TYLENE GENDUSA, MARY

ARMSTRONG, CAROL GETZ, MARY

BAUTISTA, ANNE-MARIE GREENIDGE, GRACE

BERTHOLD, DANA HALL, LYN

BROCK, MARTHA HATCH, PAMELA

BUCCHIANERI, DENISE LITTLEJOHN, CHERYL

BUSEMAN, MARY MAKERS, KIM

CARLUCCI, ROBERT MANHA, MARIE 8 ar
COLINA, EDGAR MARSHALL, ANGIE 5283

COX, TERRY OSBORNE, JUDITH ge ss\ ie
DAVIS, CONSTANCE OWENS, MEG 25 Se

DE HONEY, LESLEY PATITUCCI, FRANK & 8B 8 .
DE MOSS, W. DONALD ROY, VALERIE = £2 3\s
DeBELLIS, JENNIFER RUIZ, BECKY < seme .
DeDOMINICS, LUISA RYAN, RICHARD me Pe § ee
DICKSON, DENISE SCHERTZER, JANIS - £3 s
DODSON, BERT SKOURTIS, CARA ma eee. re
DOWDY, VETA SIMMONS, DEBBIE © ¥ © le
DREBLOW, CATHY SMITH, CINDY &e Ee ~
DRURY TERRI STAMPER, HELEN gs J
ESTEY, WRAYANN THOMANN, DAVID ss §
FOSSETT, JOAN TODD, KATHY 2 vA
FREDERICK, RODINA WHITESELL, HARRY

GALLAGHER, DOUG WOODS, CHRIS

NOW, THEREFORE, BE IT RESOLVED, that the following individuals are cach
authorized, acting alone or together, to contract to purchase, purchase, contract to sell,
sell, transfer, and convey real property of the CORPORATION:
EXHIBIT

(Conu| le & Hrware

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 4 of 59

Bk 4356 Pa76 22331

RESOLVED FURTHER, that the term "real property of the CORPORATION," as
used in this resolution, refers only to real property purchased or sold pursuant to a home
purchase program administered under contract for a corporate client; the term does not
refer to real property that is owned by the CORPORATION for purposes of investment
or which is used in the normal course of its business;

RESOLVED FURTHER, that such individuals shall be further authorized to execute
any and all deeds, documents and other instruments necessary to accomplish the
purchase, sale, transfer, and conveyance of such real property; to receive, hold and
disburse the funds; to pay and discharge the existing encumbrances; and to give receipts
of any payments, which when received shall exonerate the person or persons paying such
money from seeing to the application thereof:

RESOLVED FURTHER, that the CORPORATION shall declare that all receipts,
deeds, matters and things which shall be given and executed by such individuals shall be
good, valid and effectual for all intents and purposes whatsoever as if the same had been
signed, sealed, delivered, given, made, or done by the CORPORATION.

Executed under penalty of perjury this 10th day of January, 2002 at Pleasanton, California.

oad (ul P

RON WHITMILL, Secretary

SEAL
 

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 5 of 59

Bk 4356 Fa??? #252331

CERTIFICATE OF SECRETARY

The undersigned, being the duly elected Secretary of ReloAction, a California corporation (the
"Corporation"), certifies as follows:

l, I am the duly elected Secretary of the Corporation.

2 Effective _ January 31, 2002, the Home Sales Transaction Committee (the
“Committee”) acting under the authority of the Board of Directors of the Corporation

duly adopted the resolutions attached as Attachment A.

Executed under penalty of perjury this 23’ Gay of Seatemb400 dat Pleasanton, California.

bral ©.

Ron Whitmill, Secretary

 

 

CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT

 

{SPREE EARS ENLISTEES DEES RES OIE IA INA ELLE AAAS DY
¢ State of California
ss.

\ County of — Ma mela _
4

On — Seplembyerss 2 efore me, Lov bey wx ¢ Jota ful te
3 Unie Nama att Tile SF Often {6 7, kar Cleeteolary Puditic |
g personally appeared ___ Ron su dlartracte / 7 _

Nagrenin) ct Seqiael ip

personally known to me
Cl proved to me on the basis of satisfactory
evidence

‘

lo be the person(s) whose name(s) is/are
subscribed to the within instrument and
acknowledged to me that he/she/they executed
the same in his/her/their authorized

  

 

 

   

 

i capacity{ies), and that by his/her/their
K siqnature(s) on the instrument the person(s), or
iy the entity upon behalf of which the person(s)
il: 5
is acted, executed the instrument.
z
WITNESS my hand and official coal.
i =

Place Nolary Seal Above Slprature of Heat

OPTIONAL

 

 

Though the information below is not required by law, it may prove valuable to persons relying on the document
and could provent fraudulent removal and reattachment of this form to another dacument

Description of Attached Document

x 2 SIO OOO DO ES

 

   

 
        
 

 

 

i

i

4

fe

*

§

i Title or Type of Document: es io ———— ——

i

i Document Date: __ _ Number of Pages: ___ a —

I a
mn

‘ Siyner(s) Oller Than Named Above: ____ _ a _ i

; ;

% Capacity(ies) Claimed by Signer B

i Signer's Name: _ _. — ea B

i (1 Individiial celia 8

é |’ Corporate Officer — Title(s): J _ _ __ e

cd Partner —! | Limited |! General ty

@ || Attorney in Fact

i |° Trustee

“| = Guardian or Conservator

! |) Other; = = = = —_ _

x

Signer Is Rapresenting: _ = —

: |
ener OCI RACCOON LEAR ACOA EOLA IO WOME OORT

171999 Nabenul Nolary Assaciatoan « 9450 Oe Soto Ave, PO. Box 2402 « Ghalsworth, CA 91912.2402 « wre natrot wVrataty ote, Hed No s90r Neodet; Call Toe-Frap bao 470 027

ATTEST: NO. WORC. REGISTRY OF DESOS
JOHN B, McLAUGHUN, REGISTEA
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 90159

CERTIFICATION

The undersigned. an attorney at law. certifies that
this copy of the foregoing. furnished by undersigned Ac Af ED

has been compared by undersigned with the original

a fs » ———
Te = il colic NOTE Loan Number =i
rien COBEN GREE SEI ON TS 7 UPLAND CALIFORNIA
F (City] [State]

[Date]

12 WALDEN COURT, LEOMINSTER, MASSACHUSETTS 01453
{Property Address]

1. BORROWER'S PROMISE TO PAY ‘
In return for a loan that I have received, I promise to pay U.Sx$ 283,500.00 (this amount is called
“Principal"), plus interest, to the order of the Lender. The Lender is $c & G FINANCIAL
SERVICES, INC., A CALIFORNIA CORPORATION
I will make all payments under this Note in the form of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer

and who is entitled to receive payments under this Note is called the “Note Holder."

2. INTEREST
Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest

at a yearly rate of 7.250%.
The interest rate required by this Section 2 is the rate I will pay both before and after any default described in

Section 6(B) of this Note.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the i1stday of each month beginning on DECEMBER 1
2002 . I will make these payments every month until I have paid all of the principal and interest and any other
charges described below that I may owe under this Note. Each monthly payment will be applied as of its scheduled
due date and will be applied to interest before Principal. If,on NOVEMBER 1, 2032 , I still owe
amounts under this Note, I will pay those amounts in full on that date, which is called the "Maturity Date."

I will make my monthly payments at 1425 W. FOOTHILL BOULEVARD, SUITE 210,

UPLAND, CALIFORNIA 91786

>

or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 1,933.97

4. BORROWER'S RIGHT TO PREPAY
I have the right to make payments of Principal at any time before they are due. A payment of Principal only

is known as a "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so.
I may not designate a payment as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder
will use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder
may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my
Prepayment to reduce the Principal amount of the Note. If I make a partial Prepayment, there will be no changes in
the duc datc or in the amount of my monthly payment unless the Note Holder agrees in writing to those changes.

 
 
 

 

EXHIBIT
MULTISTATE FIXED RATE NOTE--Single Family DocMagic Ghar
Fannie Mae/Freddie Mac UNIFORM INSTRUMENT ww
Form 3200 1/01 Page 1 of 3 ¢
TE Ue OT)

's32001.not
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 7 of 59

5. LOAN CHARGES
If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the

interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The Note
Holder may choose to make this refund by reducing the Principal I owe under this Note or by making a direct payment
to me. If a refund reduces Principal, the reduction will be treated as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments
If the Note Holder has not received the full amount of any monthly payment by the end of 15

calendar days after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be
3.000 % ofmy overdue payment of principal and interest. I will pay this late charge promptly but only

once on each late payment.

(B) Default
If I do not pay the full amount of each monthly payment on the date it is due, J will be in default.

(C) Notice of Default
If I am in default, the Note Holder may send me a written notice telling me that if J do not pay the overdue

amount by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has
not been paid and all the interest that I owe on that amount. That date must be at least 30 days after the date on which

the notice is mailed to me or delivered by other means.

(D) Ne Waiver By Note Holder
Even if, at a time when I am in default, the Note Holder dues vol requise me tu pay iiutmnediately in full as

described above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses
If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have

the right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES
Unless applicable law requires a different method, any notice that must be given to me under this Note will be

given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address

it | give the Note Holder a notice of my different address.
Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing

it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am

given a notice of that different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE
If more than one person signs this Note, each person is fully and personally obligated to keep all of the

promises made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor,
surety or endorser of this Note is also obligated to do these things. Any person who takes over these obligations,
including the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises
made in this Note. The Note Holder may enforce its rights under this Note against each person individually or against
all of us tagether, This means that any ane of ns may he required to pay all of the amounts owed under this Note.

9. WAIVERS
I and any other person who has obligations under this Note waive the rights of Presentment and Notice of

Dishonor. “Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice
of Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have uot

been paid.

MULTISTATE FIXED RATE NOTE-Single Famil DocMagic CFOrmms 800-649-1362
www. docmagic.com

Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Page 2 of 3
QODMUAQ OO UMNO OOOO OMY OUTTA A

Form 3200 1/01

) (
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 8 of 59

70. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections

given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"),
dated the same date as this Note, protects the Note Holder from possible losses which might result if I do not keep
the promises which I make in this Note. That Security Instrument describes how and under what conditions J may
be required to make immediate payment in full of all amounts I owe under this Note. Some of those conditions are

described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section
15 within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to
pay these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this

Security Instrument without further notice or demand on Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED

[Pte

 

 

 

 

 

 

le (Seal) (Seal)
DANIEL J. GALVIN -Borrower -Borrower
(Seal) (Seal)

-Borrower -Borrower

(Seal) (Seal)

-Borrower -Borrower

[Sign Original Only]

MULTISTATE FIXED RATE NOTE--Single Family DocMagic CFanms 800-649-1362
www. docmagic.com

Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Page 3 of 3
FOOTE YOM VOOR TOT ADEA OY ATT AY ACI

Form 3200 1/01

3s32003.not
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 9 of 59
PAY TQ Tee Qhurast OF:
LEHMAN BROTHERS BANK, FSB
WITHOUT RECOURSE.

CMa ee ‘CLAL SERVICES, BEC.

. te Naat “YY
. -% /

ns vi oh,
R. VEE PRESIDENT

 

PAY TO
ASHMAN BROTHER NE OF

\ LetyaltHour RECON eSNG.
ae rl OTHERS BANK FSB
(Y BY: ~ Dbilig penn

VICE PRES KER
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 10 of 59
as : . Eek: Fe Faige

\ OF 4g — Sine a

\.

PREPARED BY:
SARITHA BATTU
AURORA LOAN SERVICES, LLC

10350 PARK MEADOWS DRIVE
LITTLETON, COLORA DO 80124

Tiare
le gia

When recorded mail to: MPG
Equity Loan Services, Inc,

Loss Mitigation Title Services- LMTS
1100 Superior Ave., Ste 200

Cleveland, OH 44114 57)
jonal Recordings 9 Ve g

Attn: Nat
Parcel No. LEOM-396-258

Original Principal Amount: $ 283,500.00 Loan No.:
MERS MI

_ [Space Above This Line for Recording Data]
Original Recorded Date: OCTOBER 4, 2002 Fannie Mae Loan No: i=

LOAN MODIFICATION AGREEMENT

(Providing for Fixed Interest Rate)

This Loan Modification Agreement ("Agreement"), made thi IST day of MAY, 2009
between DANIEL J, GALVIN, A SINGLE MAN

("Borrower") and AURORA LOAN SERVICES, LLC
("Lender"),

AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("Mortgagee"),
amends and supplements (1) the Mortgage, Deed of Trust or Security Deed (the "Security Instrument"), and

Timely Payment Rewards Rider, if any, daled OCTOBER 4, 2002 and recorded in

Book or Liber 4356, at page(s) 80 , ofthe Official Records of
(Name of Reeords)

WORCESTER COUNTY » MASSACHUSETTS , and (2) the Note bearing the same date as, and

(County and State, or other jurisdiction)
secured by, the Security Instrument, which covers the real and personal property described in the Security
Instrument and defined therein as the "Property", located at

 

 

CERTIFICATION
7 ‘
12 WALDEN COURT, LEOMINSTER, =a 01455 undersigned. an attorney at law. certifies that
Tope: ress . ; ; 7
ia) this copy of the foregoing. furnished by undersigned
has been compared by undersigned with the original
_—— 2nd that saieeopy is a true mei ermioce
a=
tien CL Linghen, f5. BBOBGAS «87
LOAN MODIFICATION AGREEMENT - Single Family - Fannie Mae Uniform Instrument Form 3179 1/0] (rev. 01/09) (page ! of 5)
Modified by First American Loan Production Services MASSACHUSETTS
First American Real Estate Solutions LLC
FAI.PS4 MAFM3179 Rev. 02-06-09
EXHIBIT

Iv
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 11 of 59

the real property described being set forth as follows:

SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF;

In consideration of the mutual promises and agreements exchanged, the parties hereto agree

as follows (notwithstanding anything to the contrary contained in the Note or Security Instrument):

1.

LOAN MODIFICATION AGREEMENT - Single Family - Fannie Mae Uniform Instrument

, the amount payable under the Note and the Security Instrument

As of MAY 1, 2009
, consisting of the unpaid amount(s)

(the “Unpaid Principal Balance") is U.S.$ “ 306,195.43
loaned to Borrower by Lender plus any interest and other amounts capitalized.

Borrower promises to pay the Unpaid Principal Balance, plus interest, to the order of Lender.
Interest will be charged on the Unpaid Principal Balance at the yearly rate of 5.250 %, from
MAY 1, 2009 . Borrower promises to make monthly payments of principal and
interest of U.S. $ 1,527.52 , beginning onthe 1ST day of JUNE, 2009 , and
continuing thereafter on the same day of each succeeding month until principal and interest
are paid in full. The yearly rate of 5.256 “ will remain in effect until principal and interest
are paid in full. Ifon MAY 01, 2049 (the “Maturity Date"), Borrower still owes
amounts under the Note and the Security Instrument, as amended by this Agreement, Borrower will

pay these amounts in full on the Maturity Date.

If all or any part of the Property or any interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
without Lender's prior written consent, Lender may require immediate payment in full of all sums

secured by the Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is delivered or mailed
within which Borrower must pay all sums secured by the Security Instrument. If Borrower
fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies
permitted by the Security Instrument without further notice or demand on Borrower.

Borrower also will comply with all other covenants, agreements, and requirements of the Security
Instrument, including without limitation, Borrower's covenants and agreements to make all
payinenly of taxes, insurance premuums, assessments, escrow items, impounds, and all other
payments sat Borrower is obligated to make under the Security Instrument; however, the
following terms and provisions are forever canceled, null and void, as of the dale specificd in

paragraph No. |] above:

Form 3179 1/0] (rev. 01/09) (page 2 of 5)
MASSACILUSELTS

Modified by Fiist American Loan Production Services

First American Real Estate Solutions LLC
FALPS# MAFM3179-2 Rev. 02-06-09
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 12 of 59

(a)

(b)

all terms and provisions of the Note and Security Instrument (if any) providing for,

implementing, or relating to, any change or adjustment in the rate of interest payable
under the Note, including, where applicable, the Timely Payment Rewards rate reduction,
as described in paragraph 1 of the Timely Payment Rewards Addendum to Note and
paragraph A.1, of the Timely Payment Rewards Rider. By executing this Agreement,
Borrower waives any Timely Payment Rewards rate reduction to which Borrower may

have otherwise been entitled > and

all terms and provisions of any adjustable rate rider, or Timely Payment Rewards Rider,
where applicable, or other instrument or document that is affixed to, wholly or partially
incorporated into, or is part of, the Note or Security Instrument and that contains any such
terms and provisions as those referred to in (a) above.

5. Borrower understands and agrees that:

(a)

(b)

(v)

(d)

(e)

LOAN MODIFICATION AGREE

and conditions contained in the Security
of payments under the Security Instrument
nder.

All the rights and remedies, stipulations,
Instrument relating to default in the making
shall also apply to default in the making of the modified payments hereu

All covenants, agreements, stipulations, and conditions in the Note and Security Instrument
shall be and remain in full force and effect, except as herein modified, and none of the
Borrower's obligations or liabilities under the Note and Security Instrument shall be
diminished or released by any provisions hereof, nor shall this Agreement in any way impair,
diminish, or affect any of Lender's rights under or remedies on the Note and Security
Instrument, whether such rights or remedies arise thereunder or by operation of Jaw. Also,
all rights of recourse to which Lender is presently entitled against any property or any other
persons in any way obligated for, or liable on, the Note and Security Instrument are

expressly reserved by Lender.

Nothing fh this Agreement shall be understood or construed to be a satisfaction or release

in whole or in part of the Note and Security Instrument.

including

All costs and expenses incurred by Lender in conection with this Agreement,
ower and

recording fees, title examination, and altummey's fees, shall be paid by the Bom
shall be seoured by the Sévuuily Instrument, unless stipulated otherwise by Lender.

Borrower agrees to make and execute such other documents or papers as may be necessary
or required to effectuate the terms and conditions of this Agreement which, if approved and
accepted by Lender, shall bind and inure to the heirs, executors, administrators, and assigns

of the Borrower,

Farm 3179 1/01 (sev. 01/09) (page Sof 5)

MENT - Single Family - Fane Mae Uniform Instrument
MASSACHUSETTS

Modified by First Anieiicau Loar Produetion Services

First American Real Estate Solutiona 11.C
FALPS# MAPM3179-3 Rev. 02-(06-uy
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 13 of 59

AURORA LOAN SERVICES, LLC

3 {Nowra
Name: Shawmnda Wieyri man

Its: S#é iP

wi =
f ff ———
DANIEL J. GALVIN

  

  

fs" sen \Ps
( 3597 s
% Leni” $

ag ee ar &
6-3 uf, * (Seal)

pay uty

- Lender

—

(Seal)

- Borrower

_ Seal)

~ Borrower

(Seal)

- Borrower

(Seal)

- Borrower

 

 

LOAN MODIFICATION AGREEMENT - Single Family - Fannie Mae Uniform Instrument
Modified by First American Loan Production Serviecs

First American Real Estate Solutions LLC
FALPS# MAFM3179-4 Rev, 02-06-09

__ (Seal)
- Borrower

___ (Seal)

- Borrower

Form 3179 1/01 (rev. 01/09) (page 4 of 5)

MASSACHUSETTS
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 14 of 59

[Space Below This Line for Acknowledgments] 0014225692

 

 

state oF J) VA SSACAMUSETTS county or (UGLCES7EX-
The foregoing instrument was acknowledged before me this 4 fh tie, LE ff Maps? vod by

DANIEL J. GALVIN, A SINGLE MAN

 

a MT Make

 

> te Ng e of Person Taking Acknowledgmen

 

 

 

‘
=> cousin oe

=, & “of B20 k 7 ie z Printed Name SIL. AE Ah LTIOLS
si % 2 Title or Rank 4 HPL Miif Jt Lf
Ss 4% : =

% “65 ta ‘oor sae = Serial Number, if any (f

% © x
“iy, AWRY PyB LENDER ACKNOWLEDGMENT

“Hitnw

staTE OF _Colovade county or (Jou “ le >

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The foregoin nstramen was acknowledged before me this * Ove 5S oO COW by
Shadtonda 4 Mey LAG vn , the YE WP
of BK uvera tanu vie eS
avy Avuvora ex iw ed ESR , op, behalf of sajd entity.
Signature of Person Taking Acknowledgment A); GN Gu f c—
Printed Name Ma via K Lv Ke
Maria L Kirk | rs
NOTARY PUBLIC Title or Ranke_U dravy
State of Colorado Serial Number, if any - 7
My Commission Expires April 30, 20 13
LOAN MODIFICATION AGREEMENT - Single Family - Fannie Mae Uniform Instrument Form 3179 1/01 (rev. 01/09) (page 5 of 5)
MASSACHUSETTS

Modified by First American Loan Production Services
First American Real Estate Solutions LLC
FALPS# MAFM3179-5 Rev. 02-06-09
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 15 of 59

EXHIBIT A

BORROWER(S): DANIEL J. GALVIN, A SINGLE MAN
LOAN NUMBER: 0014225692

LEGAL DESCRIPTION:

TWO PARCELS OF LAND LOCATED ON WALDEN COURT IN THE "HOLLAND
WOODS" SUBDIVISION OFF PLEASANT STREET, LEOMINSTER,
MASSACHUSETTS, IDENTIFIED AS LOT 134 AND J3B ON A PLAN

ENTITLED "PLAN OF LAND IN LEOMINSTER, MASS., PREPARED FOR
DANIEL E. LATTANZIO DATED JUNE 12, 2000, WHITEMAN & BINGHAM
ASSOCIATES, INC. REGISTERED PROFESSIONAL ENGINEERS & LAND
SURVEYORS, 510 MECHANIC STREET, LEOMINSTER, MASSACHUSETTS
01453", RECORDED WITH THE WORCESTER NORTH REGISTRY OF DEEDS IN

BOOK 412, PAGE 17.

ALSO KNOWN AS: 1Z WALDEN COURT, LEOMINSTER, MASSACHUSETTS 01453

un GALY m

aes AnERTC cn —_

oon i}

EEDS
ATTEST:; NO. WORC. REGISTRY OF D
KATHLEEN REYNOLDS DAIGNEAULT, REGISTER

FAND# EXHIBIT.A Rev. 07-03-07
Filed 02/09/18 Page 16 of 59

REDACTED

Case 4:17-cv-40123-DHH Document 15-1

 

 

 

After Recording Return To: CERTIFICATION
CoreLogic SolEx Che undersigned :
1637 NW 136th Avenue Suite G-100 this copy Of the foregeiee ees eres that
Sunrise, FL 33323 _ Py of the foregoing. furnished by undersigned

has been compared by undersigned with the original
This Document Prepared By: say  @ ue complete COPY thesgof

|
Nationstar Mortgage LLC d/b/a Mr. Cooper =, <—..
wom C. Linfen, fsz = BROLGEIRT

8950 CYPRESS WATERS BLVD
DALLAS, TX 75019

ee [Space Above This Line For Recording Data]
Original Recording Date: October 04, 2002 Loan No:
investor Loan No:

Original Loan Amount: $283,500.00

Land Mortgage Document Number: N/A
Land Instrument Number: N/A

Land Book Number: N/A

Land Page Number: N/A

LOAN MODIFICATION AGREEMENT

(Providing For Fixed Interest Rate)

This Loan Modification Agreement (“Agreement”), made this 12th day of January, 2018, between
DANIEL J. GALVIN (“Borrower’) and Nationstar Mortgage LLC d/b/a Mr. Cooper, whose address is
8950 CYPRESS WATERS BLVD, DALLAS, TX 75019 (“Lender”), amends and supplements (1) the
Martgage, Deed of Trust, or Security Deed (the “Security Instrument”) dated October 04, 2002 and
recorded in Book/Liber 4356, Page 80, Instrument No: 28333 and recorded on October 04, 2002, of the

Official Records of WORCESTER County, MA and (2) the Note, bearing the same date as, and secured
by, the Security Instrument, which covers the real and personal property described in the Security

instrument and defined therein as the “Property”, located at
12 WALDEN COURT, LEOMINSTER, MA 01453,

(Property Address)
the real property described being set forth as follows:

See Exhibit "A" attached hereto and made a part hereof;

In consideration of the mutual promises and agreements exchanged, the parties hereto agree as
follows (notwithstanding anything to the contrary contained in the Note or Security Instrument):
As of January 1, 2018, the amount payable under the Note and the Security Instrument (the
"New Principal Balance") is U.S. $426,237.03, consisting of the unpaid amount(s) loaned to
Borrower by Lender plus any interest and other amounts capitalized.

ow

(page 1 of 5)

1.

 

 

 

 

 

 

 

 

 

 

 

 

 

Se

 

 

    

 

ae
LOA IDIFIGATION AG
8300b 08/14

EXHIBIT

i=

 
LO,

   

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 17 of 59

2. $127,871.11 of the New Principal Balance shall be deferred (the "Deferred Principal Balance")

and Borrower will not pay interest or make monthly payments on this amount. The New Principal
Balance less the Deferred Principal Balance shall be referred to as the “Interest Bearing Principal
Balance" and this amount is $298,365.92. Interest will be charged on the Interest Bearing
Principal Balance at the yearly rate of 4.000%, from January 1, 2018. Borrower promises to
make monthly payments of principal and interest of U.S. $1,246.99, beginning on the 1st day of
February, 2018, and continuing thereafter on the same day of each succeeding month until the
Interest Bearing Principal Balance and all accrued interest thereon have been paid in full. The
yearly rate of 4.000% will remain in effect until the Interest Bearing Principal Balance and all
accrued interest thereon have been paid in full. The new Maturity Date will be January 1, 2058.

Borrower agrees to pay in full the Deferred Principal Balance and any other amounts still owed
under the Note and Security Instrument by the earliest of: (i) the date Borrower sells or transfers
an interest in the Property, (ii) the date Borrower pays the entire Interest Bearing Principal

Balance, or (iii) the new Maturity Date.

If all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender's prior written consent, Lender may require immediate payment in full of all sums secured

by the Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by the Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by

the Security Instrument without further notice or demand on Borrower.

Borrower also will comply with all other covenants, agreements, and requirements of the Security
Instrument, including without limitation, Borrower's covenants and agreements to make all
payments of taxes, insurance premiums, assessments, escrow items, impounds, and all other
payments that Borrower is obligated to make under the Security Instrument; however, the
following terms and provisions are forever canceled, null and void, as of the date specified in

paragraph No. 1 above:

(a) all terms and provisions of the Note and Sccurity Instrument (if any) providing lor,
implementing, or relating to, any change or adjustment in the rate of interest payable

under the Note; and

all terms and provisions of any adjustable rate rider, or other instrument or document that
is affixed to, wholly or partially incorporated into, or is part of, the Note or Security
Instrument and that contains any such terms and provisions as those referred to in (a)

above.
Borrower understands and agrees that:
(a) Ail the rights and remedics, stipulations, and conditions contained in the Security
Instrument relating to default in the making of payments under the Security Instrument
shall also apply to default in the making of the modified payments hereunder.

(b) All covenants, agreements, stipulations, and conditions in the Note and Security
Instrument shall be and remain in full force and effect, except as herein modified, and
none of the Borrower's obligations or liahilities under the Note and Security Instrument

FN M A * he
Family - Fannie Mae Uniform Instrument cA

(page 2 of 5)

(b)

 

 

 

 

 

 

 

 

 

 

 

 

 

8300b 08/14
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 18 of 59

(d)

(e)

(h)

shall be diminished or released by any provisions hereof, nor shall this Agreement in any
way impair, diminish, or affect any of Lender’s rights under or remedies on the Note and
Security Instrument, whether such rights or remedies arise thereunder or by operation of
law. Also, all rights of recourse to which Lender is presently entitled against any property
or any other persons in any way obligated for, or liable on, the Note and Security

Instrument are expressly reserved by Lender.

Nothing in this Agreement shall be understood or construed to be a satisfaction or
release in whole or in part of the Note and Security Instrument.

All costs and expenses incurred by Lender in connection with this Agreement, including
recording fees, title examination, and attorney’s fees, shall be paid by the Borrower and
shall be secured by the Security Instrument, unless stipulated otherwise by Lender.

Borrower agrees to make and execute such other documents or papers as may be
necessary or required to effectuate the terms and conditions of this Agreement which, if
approved and accepted by Lender, shall bind and inure to the heirs, executors,
administrators, and assigns of the Borrower.

Borrower authorizes Lender, and Lender's successors and assigns, to share Borrower
information including, but not limited to (i) name, address, and telephone number, (ii)
Social Security Number, (iii) credit score, (iv) income, (v) payment history, (vi) account
balances and activity, including information about any modification or foreclosure relief
programs, with Third Parties that can assist Lender and Borrower in obtaining a
foreclosure prevention alternative, or otherwise provide support services related to
Borrower’s loan. For purposes of this section, Third Parties include a counseling agency,
state or local Housing Finance Agency or similar entity, any insurer, guarantor, or
servicer that insures, guarantees, or services Borrower's loan or any other mortgage loan
secured by the Property on which Borrower is obligated, or to any companies that
perform support services to them in connection with Borrower's loan.

Borrower consents to being contacted by Lender or Third Parties concerning mortgage
assistance relating to Borrower's loan including the trial period plan to modify Borrower's
loan, at any telephone number, including mobile telephone number, or email address
Borrower has provided to Lender or Third Parties.

By checking this box, Borrower also consents to being contacted by text messaging [ ].

In the event of any action(s) arising out of or relating to this Agreement or in connection
with any foreclosure action(s) dismissed as a result of entering into this Agreement, if
permitted by applicable law, | will remain liable for and bear my own attorney fees and
costs incurred in connection with any such action(s).

Borrower understands that the mortgage insurance premiums on the Loan, if applicable,
may increase as a result of the capitalization which will result in a higher total monthly
payment. Furthermore, the date on which the borrower may request cancellation of
mortgage insurance may change as a result of the New Principal Balance.

7. In the event that | was discharged in a Chapter 7 bankruptcy proceeding subsequent to the
execution of the loan documents and did not reaffirm the mortgage debt under applicable law,
Lender agrees that | will not have personal liability on the debt pursuant to this Agreement.

8. by this paragraph, Lender is notifying Borrower that any prior waiver by Lender of Borrower's
obligation to pay to Lender Funds for any or all Escrow Items is hereby revoked, and Borrower

 

 

83UUb U8/14

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-amily - Fannie Mae Uniform Instrument ey 4)

(page 3 of 5)
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 19 of 59

has been advised of the amount needed to fully fund the Escrow Items.

In Witness Whereof, the Lender and | have executed this Agreement.

br fp. phe Date: _ / 4 | D8
DANIEL J. GALVIN -Borrower

[Space Below This Line For Acknowledgments] ___

Commonwealth of Massachusetts, . bdo ee ester County ss :

On this 44/" day of cf. Ae ___, 207%, before me, the undersigned notary public, personally
appeared DANIEL J. GALVIN, (document signer) proved to me through satisfactory evidence of

identification, which were

 

, to be the person whose name is signed on the preceding or attached

K NG uwsty
document, and acknowledged Ip me that (he) (she) signed it voluntarily for ils slated purpose.

Sh ssl be G7 ef aE eA

Olt iffSignature and Seal of Notary

ra. Ha STADE :

Official Printed Name and Segl@is Notary Public
« Massachusetts i

Wi My Commission Expires i

; Jan 21, 2022 p

My commission expires :

 

  
 

 

 

 

 

 

 

 

 

 

 

OT

Family - Fannie Mae Uniform Instrument :
ace 4 of 5)

  

 

8300b 08/14
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 20 of 59

Nationstar Mortgage LLC d/b/a Mr. Cooper
(Seal) - Lender

 

_—————
Name:
Title: Assistant Secretary

 

Date of Lender's Signature
[Space Below This Line For Acknowledgments]

The State of TX
County of Dallas
/Notary Public (name/title of officer) on this day

 

Before me _
(Please Print Name)

personally appeared ___ _ , the Assistant Secretary of Nationstar
Mortgage LLC d/b/a Mr. Cooper, known to me (or proved to me on the oath of or
through (description of identity card or other document)) to be the person
whose name is subscribed to the foregoing instrument and acknowledged ta me that he executed the

samme for the purposes and consideration therein expressed.

 

Given under my hand and seal of office this day of ,A.D., .

Signature of Officer

 

(Printed Name of Officer)
Notary Public
Title of Officer

My Commission expires :

l

 

 

 

  

 

 

 

   
 

MM)

- M A x
f@ Family - Fannie Mae Uniform Instrument

 

 

LOA r :
8300b 08/14 (page 5 of 5)
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 21 of 59

Exhibit "A"
Loan Number: 597735356
Property Address: 12 WALDEN COURT, LEOMINSTER, MA 01453

Legal Description:
THE FOLLOWING DESCRIBED PROPERTY LOCATED IN THE COUNTY OF WORCESTER, STATE OF
IN THE HOLLAND

MASSACHUSETTS: TWO PARCELS OF LAND LOCATED ON WALDEN COURT
WOODS SUBDIVISION OFF PLEASANT STREET, LEOMINSTER, MASSACHUSETTS, IDENTIFIED

AS LOT 13A AND 13B ON A PLAN ENTITLED, PLAN OF LAND IN LEOMINSTER,
MASSACHUSETTS. PREPARED FOR DANIEL E. LATTANZIO DATED JUNE 12, 2000, WHITMAN
REGISTERED PROFESSIONAL ENGINEERS AND LAND

AND BINGHAM ASSOCIATES, INC.,
RECORDED WITH THE WORCESTER NORTH REGISTRY OF DEEDS IN BOOK 412,

SURVEYORS,
PAGE 17. LOT 13A IS SUBJECT TO AND WITH THE BENEFIT OF THE ENCUMBRANCES,
EASEMENTS AND DECLARATIONS AS SET FORTH IN DEED FROM SAID DANIEL E. LATTANZIO

FROM TANCO CORPORATION DULY RECORDED WITH WORCESTER NORTH REGISTRY OF DEEDS
IN BOOK 3576, PAGE 140. LOT 13B IS SUBJECT TO AND WITH THE BENEFIT OF THE
ENCUMBRANCES, EASEMENTS AND DECLARATIONS AS SET FORTH IN DEED TO SAID ERNEST
E. LATTANZIO FROM CARTER HILL CAPITAL CORPORATION DULY RECORDED WITH

WORCESTER NORTH REGISTRY OF DEEDS IN BOOK 03188, PAGE 305.

Derivation Clause:
GALVIN's interest in the

The instrument constituting the source of DANIEL J.
from RELOACTION, A CALIFORNIA

foregoing described Property was a _ Deed,
CORPORATION, Grantor, to DANIEL J. GALVIN, Grantee, recorded on 10/04/2002 at
Book 4356, Page 78 under Instrument No. 28332 in the Register’s Office of

WORCESTER County, MA.

eee |

Exhibit A Legal Description Attachment 11/12
 

 

Bk: 56365 Pg: 376
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 22 of 59

ou

Bk: 56366 Pg: 376
Page: 1 of 2 41/28/2016 10:19 AM WD

After Recording Return to
VISIONET SYSTEMS INC
183 INDUSTRY DRIVE
PITTSBURGH, PA 15272

LIMITED POWER OF ATTORNEY

CERTIFICATION

The undersigned, an attomey at law. certifies that
this copy of the foregoing. furnished by undersigned

mati by undersigned with the original —
and that sai y is nn copy thereof
eee __
SSS "Bee Kinthea, £54. BBO POS 7

EXHIBIT

Le
 

 

OCT 0 4 2013

 

201300008152 \
OLD REPUBLIC NATIONAL TITLE INS CO

530 S MAIN S

AKRON OH

LIMITED POWER OF ATTORNEY

13/0/A 3S

Federal Notional Mongage Association, a corporation organized and cx
having an office for the conduct of business at 13150 Warldgate Drive,

—Case 4:17-cv-40123-DHH- Document t52% ‘Filed 02/09/18 Page 2 30f59

20130000

Filed for Record in
CLARE COUNTY

PAMELA MAYFIELD
10-04-2013 AC ah Dm.

PWR OF ATTY 14.00
OR Liber 1242 Pase 309 - 309

Liber Page
1242 309

Instrument
21 IONINGLS2 OR
isting under the laws of the United Stes of America,
Hemdon, Virginia 20170, constitutes and appoints

Nationstar Mortgage, LLC, organized and existing under the laws of the state o

(Texas, its teue and lawful Attorney-in-Fact,

and in iis name, place, and stead and for Its use and benefits, to execute, endorse, and acknowledge all documents customarily
and reasonably necessary and appropriate for:

1, the release of a borrower from personal Ilability under the mortgage or deed of trust following an approved transfer of
ownership of the security property;

2, the full satisfaction or release of a mortgage or (he request to a trustee for a full reconveyance of a deed of trust;

3. the partial release or discharge of a mortgage or the request to a trustee for a partial reconveyance or discharge of a deed of
trust;

4. the modification or extension of a mortgage or deed of trust;
5. the subordination of the lien of a mortgage or deed of trust;

6. the completion, termination, cancellation, or rescission of foreclosure relating to a mortgage or deed of trust, including (but
not limited to) the following actions:

a. the appointment of a successor or substitute trustee under a deed of trust, in accordance with state law and the
deed of trust;

the issuance of a statement of breach or nonperformance;

the issuance or cancellation or rescission of notices of defauli;

the cancellation or rescission of notices of sale; and

the issuance of such other documents as may be necessary under the terms af the mortgage, deed of inust, or slate
Jaw to expeditiously complete said transactions, including, but not limited to, assignments or endormements of
mortgages, deeds of trust, or promissory notes to canvey title from Federal National Mortgage Association to the
Attomey-in-Fact under this Limited Power of Attomey,

Pane

7. the conveyance of properties to the Federal Housing Administration (FHA), the Department of Housing and Urban
Development (HUD), the Department of Veterans Affairs (VA), the Rural Housing Service (RHS), or a state or private
mortgage insurer, and

8 the assignment or endorsement of mortgages, deeds of irust, or promissory notes to the Federal Housing Administration
(FHA), the Department of Housing and Urban Development (HUD), the Department of Veterans Affairs (VA), the Rural
Housing Service (RHS), a state or private mortgage insurer, or Mortgage Electronic Registration System (MERS™),

The undersigned gives to said Auomey-in-Fact full power and authority to execute such instruments dnd to do and perform all
and every act and thing requisite, necessary, and proper to carry into effect the power or powers granted by of under this Limited
Power of Attorney as fully, to all intents and purposes, as the undersigned might or could do, and hereby does ratify and confirm
all said Attorney-in-Fact shall lawfully do or cause to be done by authority hereof.

‘Third parties without actual notice may rely upon the power granted under this Limited Power of Attorney upon the exercise of
such power of the Attorney-insFact that all conditions precedent to such exercise of power has been satisfied and that this Limited
Power of Attorney has not been revoked unless an instrament of revocation has been recorded.
IN WITNESS WHEREOR, | have hereunto set my hand this 13" day of June, 201.3,

Federal Natlonal Mortgage Association

ay: a

, Mitchell Kucheruk, Asst. Vice President

 

   
   

Cushman, Assistant Secretary

STATE OF Virginia}
COUNTY OF Fairfax)

The foregoing instrument was acknowledged before me, a notary public commissioned fn Fairfax County, Virginta unis 13" vay
uf June, 2013 by Mitchell Kucheruk, Assistant Vice Prestdent, and Barbara Cushman, Assistant Secretary of Federal National

Mortgage Associatlon, a United Stuigs Corporation, on behalf of the corporation,
arp
Nowry Public: ”

 

|, Pamela Mayfield, REGISTER OF

My Commission Expires: TE OF mICHRGAN Se at COUNTY, Ge
TY OF CLARE) joreby cartly that! have compared
fnrgoing copy af the pentanant record recorded In Clare

   
 
 

  

inty Flaglater of Doeda Olfioa.
CSTIMONY WHEAEOF, | have hereunto sat my hind and

ed tho eeu! of sald Caunty this _1Oth dey a

AD. 20_Lo
ff
Pots Zomiaee le _oeeury CLERK

SETAPICKA SING ON
notary Public - Reg: a9
“Commonwealth af Nig :
Ma Conunission Expires CCL. 1,2

 
  
    

 

LET
t

ATTEST: WORC, Anthony J. Vigliottl, Register

 

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 24 of 59

Bk 4356 Faso £27235
10-04-2002 a 2204p
After Recording Return To:
C & G FINANCIAL SERVICES, INC.
1425 W. FOOTHILL BOULEVARD, SUITE 210
UPLAND, CALIFORNIA 91786 CERTIFICATION
moan Nanben! tee ue The undersigned. an attorney at law. certifies that

this copy of the foregoing. furnished by undersigned
has been compared by undersigned with the original
copy is a tru of

Qruille treed

 

“Exar ©, Cather, S54 BBOBCIST

 

{Space Above This Line For Recording Data]

MORTGAGE

 

MIN:
DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11,
13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.
(A) "Security Instrument" means this document, which is dated OCTOBER 4 ,2002,

together with all Riders to this document.
(B) "Borrower" is DANIEL J. GALVIN, A SINGLE MAN

Borrower is the mortgagor under this Security Instrument.
(C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting

solely as a nominee for Lender and Lender's successors and assigns. MERS is the mortgagee under this Security
Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number

of P.O, Box 2026, Flint, MI 48501 2026, tel. (888) 679-MERS.
(@) "Lender"is C & G FINANCIAL SERVICES, INC.

Lender isa CORPORATION organized

and existing under the laws of CALIFORNIA

Lender's address is 1425 W. FOOTHILL BOULEVARD, SUITE 210, UPLAND,

CALIFORNIA 91786 .
2002 .

(E) "Note" means the promissory note signed by Borrower and dated OCTOBER 4
The Note states that Borrower owes Lender ‘TWO HINCRED HICHTY THREE THOUSAND FIVE HIRED AND

00/100 Dollars (U.S. $283,500.00 ) plus interest, Borrower has promised to pay
this debt in regular Periodic Payments and to pay the debt in full not later than NOVEMBER 1, 2032 .
(F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property. "
(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note, and all sums due under this Security Instrument, plus interest.

G00- 649-7382

EXHIBIT

    
 

 

MASSACHUSETTS--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DocMagic €fuvamns
Form 3022 01/01 Page 1 of 12 www,

Ye

Ma3022(.mzin

MAU AAT EN PRAT ET U0 OOH
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 25 of 59

Bk 435464 FPsSi S2V2BSazS

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders
are to be executed by Borrower [check box as applicable]:

CJ Adjustable Rate Rider [_] Condominium Rider [_] Second Home Rider
(_] Balloon Rider [1] Planned Unit Development Rider C] Other(s) [specify]
[_] 1-4 Family Rider [] Biweekly Payment Rider

() “Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative miles and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.

(J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization.

(K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft,
or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by

telephone, wire transfers, and automated clearinghouse transfers.

(L) “Escrow Items" means those items that are described in Section 3.

(M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for: (1) damage to, or
destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
(N) “Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan,
(O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note,
plus (ii) any amounts under Section 3 of this Security Instrument.

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security Instrument,
“RESPA" refers to all requirements and restrictions that are imposed in regard to a “federally related mortgage loan"
even if the Loan does not qualify as a “federally related mortgage loan" under RESPA.

(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to MERS (solely as
nominee for Lender and Lender's successors and assigns) and to the successors and assigns of MERS, with power of

sale, the following described property located in the
COUNTY of WORCESTER

[Type of Recording Jurisdiction) [Name of Recording Jurisdiction]

SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS

EXHIBIT "A",
A.P.N. #: 0396-00258-00000

 

MASSACHUSETTS--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DocMagie @Rvinms 800-649-1362
Form 3022 01/01 Page 2 of 12 www. doeemagic.com

Nain V, WIUUU EE URNA CAFU MEY POCO
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 26 of 59

Bk 4354 Ps82 #228333

which currently has the address of 12 WALDEN COURT
[Street]
-LEOMINSTER , Massachusetts 01453 ("Property Address"):
[City] {Zip Code]

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."
Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to foreclose
and sell the Property; and to take any action required of Lender including, but not limited to, releasing and canceling

this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
to mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Property against all claims and demands, subject

to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants
with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and
late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments
due under the Note and this Security Instrument shall be made in U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid,
Lender may require that any or all subsequent payments due under the Note and this Security Instrument be made in
one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured
by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other
location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return
any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender
may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
under the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
to any other atnounts due under this Security Lastrument, and then to reduce the principal balance of the Note.

 

MASSACHUSETTS--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DociMaglc Gavia 800-649-7262
Form 3022 01/01 Page 3 of 12 www. docmagic.com

vss0723. nan Ns UONTEOCYAEACOMAD O00 1 AMUEC ROT EAR
MaX224.02m

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 27 of 59

Bk 4354 Pas S2Basas5

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If
more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may
be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower
to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10.
These items are called "Escrow Items." At origination or at any time during the term of the Loan, Lender may require
that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of such waiver,
Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase
"covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to
a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section
9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under
RESPA, Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
expenditures of future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
enlily (including Lender, if Lender is an institution whose deposits arc so insured) or in any Federal Home Loan
Bank. Lender shall apply the Funds to pay the Rscraw Items no later than the time specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
annual accounting of the Funds as required by RESPA,

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of
Funds held in escrow, ag defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than

12 monthly payments.

 

MASSACHUSETTS--Single Family--Fannis Mao/Freddio Mae UNIFORM INSTRUMENT - MERS DocMagic Cixsumms 400-649-1962
Form 3022 01/01 Page 4 of 12 www.docmagic.cam

Ve HIDADOOQUEUYRQOV QUE SUE ARETE ALMA A

 
Mad0225,mzm

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 28 of 59

Bk 4356 Pab4 2283355

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4. Charges; Liens, Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable
to the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items
are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but oniy
so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against
enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien
while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder
of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
determines that any part of the Property is subject to a lien which can attain priority over this Security Instrument,
Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Loan.

5, Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against Joss by fire, hazards included within the term “extended coverage," and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier providing
the insurance shall be chosen by Borrower subject to Lender’s right to disapprove Borrower's choice, which right shal]
not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-
time charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
determination and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of
any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed
by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These
amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such interest,
upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices, If Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
payee.
In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any

insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration

or repair of the Property, if the restoration or repair is economically feasible and Lender's security is not lessened,
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and

 

Fannie Mae/Freddia Mao UNIFORM INSTRUMENT - MERS DocMagic Gixsimma 800-649-1962

MASSACHUSETTS--Single Family-- a :
www. docmagic,com

Form 3022 01/01 Page 5 of 12

Dr QACUOUO VACUO (0 AUER OVC
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 29 of 59

Bk 4356 Ps85 #28335

restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement
is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
If the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
to Borrower, Such insurance proceeds shall be applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the
notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund
of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's
principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which
consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
control.
7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking
of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair
or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable
cause, Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at
the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or righis undes this Security Instrument
(such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property,
and securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or

 

MASSACHUSETTS--Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DocMagic Gianna 800-649-1362
Form 3022 01/01 Page 6 of 12 www. docmagic.com

Masta 0¢ QINOUUQQQYMQGUQOO SY OLD MRD TA
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 30 of 59

Bk 433546 Faia $223554

other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
Lender incurs no liability for not taking any or all actions authorized under this Section 9.

: Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by
this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall
be payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing.

10, Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the
Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously
provided such insurance and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the
Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage
Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent
Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and
retain these payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-
refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay
Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if
Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer selected
by Lender again becomes available, is obtained, and Lender requires separately designated payments toward the
premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and
Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable
loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law.
Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur
if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These ayreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might
be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying
the mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share
of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed
“captive reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the

Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums
that were unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture, All Miscellaneous Proceeds are hereby assigned to

and shall be paid to Lender.

 

Fannlo Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DucMagic Charan 000-645-1362

MASSACHUSETTS--Single Family-- vf
www. docmagic.com

Form 3022 01/01 Page 7 of 12

Monza V6 UNHTUEA QU (VMHEU 0010 IEG SUTRA RAAT

 
Ma30228.mzm.

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 31 of 59

Bk 4354 FPs2? #2285335

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair
and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration ina single disbursement
or ina series of progress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requites interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall
be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall
be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partial taking, destruction, or Joss in value, unless Borrower and Lender otherwise
agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party
(as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether
or not then due. “Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's
judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the Property
or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, teinstate
as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's
judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
rights under this Security Instrument. The proceeds of any award or claim for damages that are attributable to the
impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2.

12, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest
of Borrower, Lender shall not be required to commence proceedings against any Successor in Interest of Borrower
or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
{nstrument by reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
forbearance by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of
payments from third persons, entities or Successors in Interest of Borrower or in amounts Jess than the amount then
due, shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security

 

MASSACHUSETTS--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DocMagic €tRauins 600-645-1362
Form 3022 01/01 Page 8 of 12 www.doemagic.com

Ve UOQMUATOT THOMOE TOV UE HOE CREME
Ma30229.mzm

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 32 of 59

Bk 4354 Ps8e2 st2S353553

Instrument but does not execute the Note (a “co-signer"): (a) is co-signing this Security Instrument only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights
and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability
under this Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this
Security Instrumenit shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the
absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed
as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
prepayment charge (whether or not a prepayment charge is provided for under the Note), Borrower's acceptance of
any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be
in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given
to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute notice
address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender
specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
through that specified procedure. There may be only one designated notice address under this Security Instrument
at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's
address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender.
If any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
requirement will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in
this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might
explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) wurds uf the masculine gender shall mcan and include corresponding
neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice
versa; and (c) the word "may" gives sole discretion without any obligation to take any action.

17, Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Intercst in Borrower. As used in this Section 18, "Interest in
the Property” means any leyal or beneficial interest in the Property, including, but not limited to, those beneficial

 

FORM INSTRUMENT - MERS DocMagic Ginn 800-649-1362

MASSACHUSETTS--Single Family--Fannie Mae/Freddia Mac UNI
Form 3022 01/01 Page 9 of 12 www. docmagic.com

WOQOUEQOOESONUUU MODE COUN ECMO ATA
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 33 of 59

Bk 4354 FPs8S $28353

interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
hatural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this option
shall not be exercised by Lender if such exercise is prohibited by Applicable Law,

If Lender exercises this option, Lender shali give Borrower notice of acceleration. The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums pnior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five
days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other
period as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment
enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would
be due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any
other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but
not limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shatl
not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note
(together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
result in a change in the entity (known as the "Loan Servicer”) that collects Periodic Payments due under the Note
and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will
state the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter
the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual
litigant or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that
alleges that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument,
until such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements
of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such
notice to take corrective action. If Applicable Law provides a time period which must elapse before certain action
can be taken, that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given
to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action
provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,

 

Fannie Mae/Freddie Mac UNIFORM INSTRUMENT - MERS DocMagic €ifawnns 900-645-1362

MASSACHUSETTS--Single Family-- d
www. docmagic.com

Form 3022 01/01 Page 10 of 12

Nera nn V6 WIPNUUTEQQAVOMOUV M00 OOOO 1 ET
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 34 of 59

Bk 434256 FPs0 €228233535

materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental protection;
(c) “Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an “Environmental Condition" means a condition that can cause, contribute to, or

otherwise trigger an Environmental Cleanup.
Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,

or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else
to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized
to be appropriate to normat residential uses and to maintenance of the Property (including, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that
any removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall
promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any

obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under
Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action
required to cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result in acceleration of the sums secured by this Security Instrument and sale of the Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring a court
action to assert the non-existence of a default or any other defense of Borrower to acceleration and sale. If the
default is not cured on or before the date specified in the notice, Lender at its option may require immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke the
STATUTORY POWER OF SALE and any other remedies permitted by Applicable Law. Lender shall be
entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including, but not
limited to, reasonable attorneys' fees and costs of title evidence.

If Lender invokes the STATUTORY POWER OF SALE, Lender shall mail a copy of a notice of sale to
Borrower, and to other persons prescribed by Applicable Law, in the manner provided by Applicable Law.
Lender shall publish the notice of sale, and the Property shall be sold in the manner prescribed by Applicable
Law. Lender or its designee may purchase the Property at any sale. The proceeds of the sale shall be applied
in the following order: (a) to all expenses of the sale, including, but not limited to, reasonable attorneys' fees;
(b) to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally entitled
to it.
23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall discharge this
Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this
Security Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is

permitted under Applicable Law.
24. Waivers. Borrower waives all rights of homestead exemption in the Property and relinquishes all rights

of curtesy and dower in the Property.

 

MASSACHUSETTS--Single Family--Fannie Mae/Fraddie Mac UNIFORM INSTRUMENT - MERS DocMagic Gann: 600-643-1362
Form 3022 01/01 Page 11 of 12 www.docmagic.com

Magra um 06 QUTOTEU UE AUOMED TOG 00 CE ACE AEA

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 35 of 59

Bk 43546 PsO1 #2835355

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

 

fp

 

 

 

 

 

 

 

(Seal) (Seal)
DANIEL J. GALVIN ~Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower
Witness: — Witness:
2 {Ow
Commonwealth of Massachusetts, County ss: WORCESTER
On this 4th day of October , 2002

before me personally appeared DANIEL J. GALVIN

to me known to be the person (or persons) described in and who executed the foregoing instrument, and acknowledged

that he/she/they executed the same as his/her/their free act and deed.
vk de

; Notary Public
Brian F. Donovan

 

Notary Public (Printed Name)

My commission expires: 2/26/04

 

MASSACHUSETTS--Single Family--Fannie Mae/Freddia Mac UNIFORM INSTRUMENT - MERS DocMagieeixanms #00-649-1362
Form 3022 01/01 Page 12 of 12 www, docinagle, com

Msn. WOUBYNAUATUVOROOVUY FGA UOC MRPM
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 36 of 59

Kk 4354 PaeS2 s22333

EXHIBIT A

Two parcels af and located on Walden Court in the “Holland Woads" subdivision of f Pleasant
Street, Leominster, Massachusetts, identified as Lot 13A and 138 ona Plan entitled, “Plan
of Land in Leominster, Mass. Prepared for Daniel E. Lattanzio dated June 12, 2000,
Whitman & Bingham Associates, Inc., Registered Professional Engineers & Land Surveyors,
510 Mechanic Street, Leominster, Massachusetts 01453", recorded with the Worcester

North Registry of Deeds in Book 412, Page 17.

Lot 13A is subject to and with the benefit of the encumbrances, easements and
declarations as set forth in deed from said Daniel E. Lattanzio from Tanco Corporation duly

recorded with Worcester North Registry of Deeds in Book 3576, Page 140.

Lot 138 is subject to and with the benefit of the encumbrances, easements and declarations
as set forth in deed to said Ernest E. Lattanzio from Carter Hill Capital Corporation duly
recorded with Worcester North Registry of Deeds in Book 03188, Page 305.

Being the same premises conveyed to Daniel J. Galvin by deed of ReloAction

dated September 11, 2002, and recorded herewith in Book_4«¢3% , Page

sare to bE a THe and

: 7 2333 sys ci orig
4 Pare ade Oe

oe . —_—-
a } :

  
    

Wc

AI TEST: NO. WORC. REGISTRY OF DEEDS

JOHN B. McLAUGHLIN, REGISTER
Case 4:17-owi40222:RHH mRogyment 15-1 Filed 02/09/18 Page 37 of 59

Eke 4.
© @ G FINANCIAL SERVICES, INC. Ebb Ba

aif 1425 WwW. FOOTHILL BOULEVARD, SUITE
é 210

\
UPLAND, CALIFORNIA 91786 REDACTED
ATIN: QUALITY CONTROL

Lown Nonbe ieee
Servicing Number: Sqm <:
(Space Above This Line For Recording Dalal
Assignment of Mortgage

FOR VALUZ RECEIVED, the undersigned hereby grants, assigns and transfers O\LEHMAN BROTHERS BANK,
PSE, 2530 SOUTH PARKER ROAD, SUITE 600, AURORA, COLDRADO 80014

 
 

 

 

 

 

all beneficial interest under that cerlain Mortgage dated OCTOBER 4, 2002

executed by
DANIEL 3. GALVIN, A SINGLE MAN

. Mortgagor
and recorded as Instrument No.28333 concurrently herewith on 10-4-02 in book 4356 :

page 80 _ of Official Records in the County Recorder's office of WORCESTER County,
MASSACHUSETTS . describing land therein as

uEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS EXHIBIT "An,

Commonly tmown as: 12 WALDEN COURT, LEOMINSTER, MASSACHUSETTS 01453

Assessor's Parrel #: 0396-00258-00000
TOGETHER with the nole or notes therein described or.referred to, (he money due and to become due thereon with interest,
and all rights eccrued or to accrue under said Morigape. \C & G FINANCIAL SERVICES, INC, / A

; ~  ALIFORNIA CORPORATION

  
  

 

7

  

By: By:

Name: Name: GALL V. REMIS

Title: Title: SR. VICE PRESIDENT

Attest fal Attest

STATE OF MaS : CALIFORNIA CERTIFICATION

COLNTY OF WORCESTER
On 7-11-03 before me
BRENDA RIVERA

 

 

 

 

  

The undersigned. an attormey at law. certifies that qi ale
AN BERNARDINGs, this copy of the foregoing, furnished by undersip i <0) i
' has been compared h undersigned with the orivy9 feb
AAT THA seit Copy ts a true comp a

 
   
 
 

     
  

 

  
   

persanally appeared

 

GAIL V. REMIS

personally known to ine (or proved to meon the basis of
salisfactory evidence) to be the person(s) whose name(s)
is/are subscribed lo the within instrument and acknowledged
io me tai hershefthey executed the seme in his/her/thei
author.zed capacity(ies), and that by his/hes/their signattre(s)
on the instrument the person(s) or the gti) upom-behal) of
whica the pergtn(s)
WITNESS my

(This area for Corporate Seal)

 
 
  

    

they ORE ey
Ge RENDA RIVERA f
i
Signature

BRENDA RIVERA

Name (Typed or Printed) (This area for offictal notarial
Notary Public in for said State EXHIBIT

 
Case 4:17-cv-40123:DHH Document 15-1 Filed 02/09/18 Page 38 of 59

oD
oh
MN
rl
r)

de

‘ll
Ny

ait,

Bk 428791

EXHIBIT A

Whitman & Bingham Associates, Inc, Registered Professional Engineers & Land Surveyors,
510 Mechanic Street, Leominster, Massachusetts 01453", recorded with the Worcester
North Registry of Deeds in Book Alé, Page 17,

Lot 13A is subject to and with the benefit of the encumbrances, easements and
declarations as set forth in deed from said Daniel E. Lattanzio from Tanco Corporation duly
recorded with Worcester North Registry of Deeds in Book 3576, Page 140,

Lot 13B is subject 1o and with the benefit of the encumbrances, easements and declarations
as set forth in deed to said Ernest €. Lattanzio from Carter Hill Capital Corporation duly
recorded with Worcester North Registry of Deeds in Book 03168, Page 305,

Being the same premises conveyed to Daniel J. Galvin by deed of
ReloAction. dated September 1], 2001, and recorded herewith in
Book YR,  , Page 0 ;

 
  
 

ibys aTigiry

ATTEST: NO, WORGC. REGISTRY OF DEEDS
JOHN B, McLAUGHLIN, REGISTER
2 : . ‘ Bae
Case 4:1 7eGvr4012/0HH Document 15-1 Filed 02/09/18, Age 39 DF:59 3 erie

1B —BUNIGS a 4

REDACTED

 

 

CORPORATE ASSIGNMENT OF MORTGAGE
Worcester South, Massachusetts

SELLER'S SERVICING #: NG 'G ALVIN"

INVESTOR'S LOAN 4:
MERS #: QT VRU #: 1 (888) 679-6377

Date of Assignment: January 27th, 2006

Assignor: LEHMAN BROTHERS BANK, FSB at 601 FIFTH AVENUE, P.O. BOX 4000,
SCOTTSBLUFF, NE 69361

Assi gnets M ORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC A DELA WARE
CORPORATION at 1595 SPRING HILL RD, SUITE 310, VIENNA, VA 22182

Executed By: DANIEL J GALVIN , A SINGLE MAN To: C & G FINANCIAL SERVICES, INC., A
cy CALIFORNIA CORPORATION
=? Date of Mortgage: 10/04/2002 Recorded: 10/04/2002 in Book/Reel/Liber: 4356 Page/Folio: 80 as
© Instrument No.: 28333 In Worcester South, Massachusetts _— a

12 WALDEN COURT, LEOMINSTER,

Property Address:

Property Address: 12 WALDEN COURT, LEOMINSTER, MA 01453

KNOW ALL MEN BY THESE PRESENTS that in consideration of the sum of TEN and NO/100ths
DOLLARS and other good and valuable consideration, paid to the above named Assi nor, the receipt and
sufficiency of which is hereby acknowledged, the said Assignor hereby assigns unto the above-named
Assignee, the said Mortgage together with the Note or other evidence of indebtedness (the "Note"), said
Note having an original principal sum of $283,500.00 with interest, secured thereby, together with all
moneys now owing or that mary hereafter become due or owi Ng in respect thereof, and the full benefit of all
the powers and of all the covenants and provisos therein contained, and the said Assignor hereby grants
and conveys unto the said Assignee, the Assi gnor's beneficial interest under the Mortgage.

TO HAVE AND TO HOLL the said Mortgage and Note, and also the said property unto the said
Assignee forever, subject te the terms contained in said Mortgage and Note.

Wee BROTHERS BANK, FSB
A" On January 27th, 2006

CERTIFICATION

The undersigned, an allorney at law. certifies that
this copy of the foregoing. furnished by undersigned
has been com by undersign Awith the original

as of

 

     
 

Bren & Lenten, Be. BE URINE 7

“KCN*KCNALSI*01/27/2006 02:38:00 PM* ALSI04ALS1A000000000000000249810' MAWORC2! 0014225692 MASTATE_MORT_ASSIGN_ASSN “*KCNALSI*

Recording Requested By:
KATRINA NAGEL
When Recorded Return To:
KATRINA NAGEL
«), AURORA LOAN SERVICES INC,
#/ 601 5TH AVE

EXHIBIT
SCOTTSBLUFF, NE 69361-

“_

tabbles*

{
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 40 of 59

CORPORAL ~NMENT OF MORTGAGE Page 2 of 2

STATE OF Nebraska
COUNTY OF Scotts Bluff

ON January 27th, 2006, before me, KATRINA C. NAGEL, a Notar
Scotts Bluff County, State of ‘Nebraska, personally appeared Krista Gingrich, Assistant Vice-President,
personally known to me (or proved to me on the basis of Satisfactory evidence) to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the
same in his/her/their authorized capacity, and that by his/her/their si Bnature on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

‘y Public in and for the County of

 

  

KATRINA C. NAGEL

i GENERAL NOTARY - Slate of Nebraska
eesti! My Comm. Exp, Aug. 10, 2007

 

 

 

 

7.
KATRINA C. NAGEL
Notary Expires: 08/10/2007

(This area for notarial seal)

“KCN*KCNALSI'01/27/2006 02:38:00 PM* ALSIO4AL SIADDODO000N00000249810° MAWORC2° 0014225692 MASTATE_MORT_ASSIGN_ASSN “*KCNALSI'

(" ATTEST:NO. WORC, REGISTRY OF DEEDS
;, JOHN B, MclLAUGHLIN, REGISTER
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 41 of 59

Total Pages: C2),
: : Bk 6801 Ps248

12, WALDEN COURT, LEOMINSTER,

Property Address:
MA, 01453

a

REDACTED

#16157
OF-25-2ons a O9253a

 

 

ig CORPORATE ASSIGNMENT OF MORTGAGE
Worcester Ni orth, Mrssa

chusetts
SELLER'S SERVICING aT CALVIN"

MERS +I 20 4; 1-889-679-6977

Date of Assignment: August 25th, 2008
Assignor, MORTGAGOR ELECTRONIC REGISTRATION SYSTEMS, INC,
MILLER ROAD, FLINT, MI 48501-2026

Asslgnodne & G FINANCIAL SERVICES, INC. at 1425 W FOOTHILL BLYD, SITE 210, UPLAND,
CA 91786

at P.O. BOX 2026, G4318

Executed By: DANIEL J. GALVIN, A SINGLE MAN To: MORTGAGE ELECTRONIC \
REGISTRATION SYSTEMS, INC, AS NOMINEE FORG &G FINANCIAL SERVICES, INC. ITs

SUCCESSORS AND ASSIGNS

Date-of Mortgage: 10/042002 Recorded: 10/04/2002 in Book/Reel/Liber: 4356 Page/Falio; 80 ns

Instrument No.: 28333 In Worcester North, Massachusetts es

Property Address: 12 WALDEN COURT, LEOMINSTER, MA 01453

KNOW ALL MEN BY THESE PRESENTS that in consideration of th
DOLLARS and other good and valuable consideration, paid to the above named Assignor, the receipt and
sufficiency of which is hereby acknowledged, the said Assignor hereby assigns unto the above-named
Assignes, the said Mortgage together with the Note or other evidence of indebledness (the "Note"), said
Note having:an original Principal sum of $283,500.00 with intersst, secured thereby, together with al]
moneys now owing or that may hereafter became dile or owing in respect thereof, and the full bene fit of all
the powers and of all the covenants and provisos therein containad, and ihe said Assignor hereby prants
and conveys unto the sald Assignes, the Assignor’s beneficlal interest under the Mortgage.

ie sum of TEN and NO/1OOths

TO HAVE AND TO HOLD the gaid Mortgage and Nate, and algo the enid Property unto the said
Assignee forever, subject to the termy contained in said Mortgage and Note,

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. CERTIFICATION
On August 25th, 2008 But effective 10/15/2002

The undersigned, an Attorney at law, certifies that
By:
Id, REIN, Viee-Président

Py this copy of the foregoing. furnished by undersigned
pas been compared by undersigned with the original

   

 

“SACTPLAL Sr 8 AY A iy ay

Recording Requested By:
AURORA LOAN SERVICES
When Recorded Retum To:
Susan Lindhorst

AURORA LOAN SERVICES
P.O. Box 1706

Scottsbluff, NE 69363-1706

MAME MASTATISRIAT_ASSION AseH “aeeaLine

HAAN

May Mee Aer ne oe Al ree ln Mie ete

 

EXHIBIT

Ts

tabbles’
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 42 of 59

CORPORATE ASSIGNMENT OF MORTGAGE Page 2 of 2

STATE OF Nebraska
COUNTY OF Scotts Bluff

histhee/their authorized capacity, and that by his/her/their signature
entity upon behalf of which the person(s) acted, executed the instru

on the instrument the person(s), or the
ment.

WITNESS my hand and offlelal seal,

BA d, INE DIETZ 4

OREM eer " Hibratta
TZ
fe dy came BA OZ 2010

 

Notary Expires: 03/22/2010

 

(This area for notarial seal)

ATTEST: NO. WORE. AEC

ISTRY OF O
KATHLEEN REYNOLDS pal ie

GNEAULT, REGISTER

Alt ALEOLAL WE MASTATE_MORT_ASSION_ASSN BFUALSP

SET minha a Rl se eles cera ee in

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 43 of 59

, Total Pages: (2)

Executed By; DANIEL J. GAL
REGISTRATION SYSTEMS,
SUCCESSORS AND ASSIGNS
Date of Mortgage: 10/04/2002 Recorded:

Instrument No.: 28333 th Worcester North

Property Address: 12 WALDEN Cr, LEOMINSTER, MA 01453
coo

KNOW ALL MEN BY THESE PRESENTS that in consideration of the sum of TEN and NO/100ths
geod and valuable consideration, paid to the above named Assignor, the receipt.and

s hereby acknowledged, the said Assignor hereby assigns unto the above-named
Assignes, the said Mortgage together with the Note or other evidence of indebtedness (the “Note”), snid
Note having an original principal sum of $283,500.00 with interest, secured thereby, together with all
Moneys now owing of thal may heraafer become due or owing in faspeet thereof, and the full benefit of all
the powers and of all the covenants and provigos therein contained, and the sald Ass
and conveys unth the snid Assignee, the Assiynur's beneficial interest under the Mo

TO HAVE AND TO HOLD
Assignee forever, subject to the t

DOLLARS and other
sufficiency of which |

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC,
n August 25th. 2008 pup effective 2/18/2006

sate
JOANN REIN, Vice-President

“Dart ine

CORPORATE ASSIGNMENT OF MORTGAGE
Worcester North, Massachusetts
SELLER'S SERVICING QD 'GALVine

MERS (I 20) 4: 1-888-679-6377

REGISTRATION SYSTEMS, INC. at P.O. BOX 2026, G4318
ERVICES, LLC at 2617 COLLEGE PARK, PO BOX 1706,

g ©

G

Zz

5

WwW

a
ae ;
go Date of Assignment: August 25th, 2008
3A Assignor: MORTGAGE ELECTRONIC:
<A MILLER ROAD, FLINT, MI 48501-20
B_ _ Assignee; AURORA LOAN §
ge 3 SCOTTSBLUFF, NE 69361
EVs

VIN, A SINGLE MAN To: MORTGAGE ELECTRONIC
C. AS NOMINEE FOR C&G FINANCIAL SERVICES, INC. IT'S

10/04/2002 in Book/Reel/Liber: 4356 Pape/Fotio: 80 as
» Massachusetts a

he said Mortgage and Note, and also the said Property unto the said
rms contalned in said Mortgage and Note,

REDACTED

Bk 6801 Ps25a ei
"9-25-2008 a a925$252

\\9
aio”

 

Ignor hereby grants
rtpage,

CERTIFICATION

im The undersigned. an attorney at law, certifies that

feMis copy of the foregoing. furnished by undersigned
hats been ¢ orsigned-w eo

 

    
  
 

 

Recording Requested By:
AURORA LOAN SERVICES
When Recorded Return To:

Susan !indhorst

AURORA LOAN SERVICES

P.O, Box 1706

Scottsbluff, NE 69363-1706

HAMM IV

94 nt MASTATE_MORT_ASSION_AQSH “BFLALEIY

foe Wms gan

 

EXHIBIT

tabbles"
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 44 of 59

COF PORATE ASSIGNMENT OF MORTGAGE Page 2 of 2

STATE OF Nebraska
COUNTY OF Scotts Bluff

ON Auaust 25th, 2008, before me, DARLINE DIETZ, a Notary Public in and for the County of Scotts
Bluff County, State of Nebraska, Personally appeared JOANN REIN, Vice-President, personally known to
me (or proved to me an the basis of satlsfastory evidence) to be the person(s) whose name(s) ie/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the sume in
histherftheir authorized capacity, and that by hisher/thelr signature on the instrument the person(s), or the
entity upon behalf of which the person(s) acted, executed the instrument.

WITNESS my hand and official teal,

CEREML YS oka
, . i. Uy Conan, CEE st
A E DIETZ

Notary Expires: 03/22/2010

 

 

(This area for notarial seal)

ATTEST: NO. WORG. REGISTRY OF DEEDS
WATHLEEN REYNOLDS OAIGNEAULT, REGISTEF

DrDDASr AM! ALGIDIAL

 

MASTATE_MORT_ASBION, ASSN “EFIALAIC

 
Case 4:17¢cv!40423-DHH ‘Document 15-1 Filed 02/09/18 Page 45 of 59

Bk FOURS Faead
MSB-OS5— 2009 a it

dp
ue
Ht Ol
b)
on
tf

 

CORPORATE ASSIGNMENT OF MORTGAGE
Worcester N orth, Massachusetts

SELLER'S SERVICING /(EEE' GALVIN"
MERS +: QD VRU :: 1-888-679-6377

Date of Assignment: July 24th, 2009

Assignor: AURORA LOAN SERVICES LLC at 2617 COLLEGE PARK, PO BOX 1706,
SCOTTSBLUFF, NE 69361

Assignets MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. at 3300 S.W. 34TH
AVENUE, SUITE 101, OCALA, FL 34474

12 WALDEN COURT, LEOMINSTER,

Property Address:
MA, 01453

Executed By: DANIEL J. GALVIN, A SINGLE MAN To: MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., AS NOMINEE FORC &C FINANCIAL SERVICES, INC,
Date of Mortgage: 10/04/2002 Recorded: 10/04/2002 in Book/Reel/Liber: 4356 Page/Folio: 80 as
Instrument No.: 28333 [ny Worcester North, Massachusetts

Property Address: 12 WALDEN COURT, LEOMINSTER, MA 01453

KNOW ALL MEN BY THESE PRESENTS that in consideration of the sum of TEN and NO/100ths
DOLLARS and other good and valuable consideration, paid to the above named Assignor, the receipt and
sufficiency of which is hereby acknowledged, the said Assignor hereby assigns unto the above-named
Assignee, the said Mortgage together with the Note or othe evidence of indebtedness (the "Note"), said
Note having an original principal sum of $283,500.00 with interest, secured thereby, together with all
moneys now owing or that may hereafler become due or owing in respect thereof, and the full benefit of all
the powers and of all the covenants and provisas therein contained, and the said Assignor hereby grants
and conveys unto the said Assignee, the Assignor's beneficial interest under the Mortgage.

TO HAVE AND TO HOLD the said Mortgage and Note, and also the said property unto the said
Assignee forever, subject to the terms contained in said Mortgage and Note.

\ AURORA LOAN SERVICES LLC

On July 24th 2009 ae
— SP
é Ss a
213 “y ABE CERTIFICATION
2 Ny =
aryl Mile alte, he The undersigned, an attomey at law, certifies thas
NANCY L. ALKER, Assistant Hi yyy this copy of the foregoing. furnished by undersigned
Vice-President has been Compared by undersigned with the original
id copy is a true copy the

 

Brien & Cincher, ésg. BRO H Covoys7

“OAD "DADALS TOT 2a/2009 OR.26:6n' AN ALSIN1AL SIAQQO0000I00000005B4445* MAWORCE* 0014225692 MASTATE_MORT_ASSIGN_ASSN “DADALSI*

Recording Requested By:

AURORA LOAN SERVICES

When Recorded Return To:

ASSIGNMENT PREP

AURORA LOAN SERVICES

P.O. Box 1706

Scottsbluff, NE 69363-1706 EXHIBIT

fo
Case 4:17-cv-40123-DHH -Document 15-1 Filed 02/09/18 Page 46 of 59

CORPORATE ASSIGNMENT OF MORTGAGE Page 2 of 2

STATE OF Nebraska
COUNTY OF Scotts Bluff

ON July 24th, 2009, before me, DARLINE DIETZ, a Notary Public in and for the County of Scotts Blutr
County, State of Nebraska, personally appeared NANCY L, WA LKER, Assistant Vice-President,
personally known to me (or proved to me on the basis of satisfactory evidence) to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the
same in his/her/their authorized capacity, and that by his/her/their Signature’on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, exectited the instrument,

A

WITNESS my hand and official seal,

fee GF

Notary Expires: 03/22/2010

   
 

ERAL NOTARY-State af Nebraska
vive ALINE Dye
¥ Comm, Exp, Marcli 22, 2019

 

  

(This area for notarial seal)

“DAD‘DADALS1*07/24/2009 08:26:59 AM’ ALSIO1ALS1A000000000000000584445* MAWORCE* 0014225692 MASTATE_MORT_ASSIGN_ASSN “DADALSI*

ATTEST: NO. WORG, REGISTRY OF DEEDS
KATHLEEN REYNOLDS DAIGNEAULT, REGISTER
      

Case 4:17 -cv-40123-DHH Document 15-1 Filed 02/09/18 Page 47 of 59
Bk C7444 Palos FLOP ZS
OV-25-2011 @ ips 3246p

REDACTEL

 

=
i CORPORATE ASSIGNMENT OF MORTGAGE
i Worcester North, Massachu
Z SELLER'S SERVICING a
& MERS +: QB sts 4: 1-888.679-6377
2 5 Date of Assignment: June 22nd, 2011
8 ij  Assignor: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. at 1901 E VOORHEES
<Q STREET, SUITE C, DANVILLE, IL 61834
2'Z _,, Assignees AURORA LOAN SERVICES, LLC at 2617 COLLEGE PARK, PO BOX 1706,
g= iS scorranbert ’, NE 69361
Oo
— AS =
es INGLE MAN To: MORTGAGE ELECTRONIC

Executed By: DANIEL J. GALVIN, AS
REGISTRATION SYSTEMS, INC. AS NOMINEE FO.

SUCCESSORS AND ASSIGNS
Date of Mortgage: 10/04/2002 Recorded: 10/04/2002 in Book/Reel/Liber: 4356 Page/Folio: 80 as

Instrument No.: 28333 In the County of Worcester North, State of Massachusetts.

RC & G FINANCIAL SERVICES, INC, IT'S

Property Address: 12 WALDEN CT, LEOMINSTER, MA 01453

KNOW ALL MEN BY THESE PRESENTS that in consideration of the sum of TEN and NO/100ths
DOLLARS and other good and valuable consideration, paid to the above named Assipnor, the receipt and
sufficiency of which is hereby acknowledged, the said Assignot hereby assigns unto the above-named
Assignee, the said Mortgage having an original principal sum of with interest, secured thereby, with all
nloneys how owing or that may hereafter become due or owing in respect thercof, and the full benefit of ail
the powers and of all the covenants and provisos therein contained, and the said Assignor hereby grants
and conveys unto the said Assignee, the Assignot’s beneficial interest under the Mortgage.

TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever,
subject to the terms contained in said Mortgage.

~

\ MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
On June 22nd, 2011

 
 
  

      

   

sia
By: soy ‘Sear ee
LUCY A. LANG Vice-President ins
Lash
up

“DD"ODALSI"06/22/201 1 06:45:25 AM* ALSI01ALS1A000000060000000433004" MAWORCE® 0014225602 CERTTEFCATION”

Recording Requested By:
The undersigned. an attorney at law. certifies that

  
 

 

AURORA LOAN SERVICES

When Recorded Return To: this copy of the foregoing. furnished by undersigned
Lawrence Leseberg VICES has been compared by undersigned with the original
AURORA LOAN SERVI id ‘ copy thereof
P.O. Box 1706 and Copy fea Maeicneiplete Copy

EXHIBIT

  

Scottsbluff NE 69363-1706

 

 
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 48 of 59

REDACTED

 

 

After Recording Return To:
NATIONSTAR MORTGAGE LLC CERTIFICATION
350 HIGHLAND DRIVE undersigned, an attorney at law, certifies that
LEWISVILLE, TX 75067 this copy of the foregoing. furnished by undersigned
has been compared by undersigned with the original
This Document Prepared By: au sit y is a true complete copy.thereof
NATIONSTAR MORTGAGE LLC 4
350 HIGHLAND DRIVE
LEWISVILLE, TX 75067 Bien C Bn, Hg, Boo Tete Usy

Steve Safavi

 

[Space Above This Line For Recording Data]
Loan No: eT |

Original Loan Amount: $283,500.00
LOAN MODIFICATION AGREEMENT

(Providing for Fixed Interest Rate)

This Loan Modification Agreement (“Agreement’), made this day of , between DANIEL GALVIN
(‘Borrower’) and NATIONSTAR MORTGAGE LLC, whose address is 350 HIGHLAND DRIVE,

LEWISVILLE, TX 75067 (“Lender”), amends and supplements (1) the Mortgage, Deed of Trust, or

Security Deed (the “Security Instrument’), and Timely Payment Rewards Rider, if any, dated
and recorded in , of the Official Records

(Name of Records) of County, MA (County and State, or other Jurisdiction) and (2)

the Note, bearing the same date as, and secured by, the Security Instrument, which covers the real and
personal property described in the Security Instrument and defined therein as the “Property”, located at

12 WALDEN CT, LEOMINSTER, MA 01453,
(Property Address)

the real property described being set forth as follows:

In consideration of the mutual promises and agreements exchanged, the parties hereto agree as
follows (notwithstanding anything to the contrary contained in the Note or Security Instrument):

As of November 1, 2012, the amount payable under the Note and the Security Instrument (the
“Unpaid Principal Balance”) is U.SN$319,006.11, consisting of the unpaid amount(s) loaned to

Borrower by Lender plus any interest and other amounts capitalized.

1.

2. Borrower promises to pay the Unpaid Principal Balance, plus interest, to the order of Lender.
Interest will be charged on the Unpaid Principal Balance at the yearly rate of 4.625%, from
November 1, 2012. Borrower promises to make monthly payments of principal and interest of
U.S. $1,459.87, beginning on the 1st day of December, 2012, and continuing thereafter on the

LOAN MODIFICATION AGREEMENT—Single Family—Fannie Mae Uniform Instrument Form 3179 1/01 (rev. 06/12)
(page 1 of 5)

8300 06/12

EXHIBIT
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 49 of 59

same day of each succeeding month until principal and interest are paid in full. The yearly rate of
4.625% will remain in effect until principal and interest are paid in full. If on November 1, 2052
(the “Maturity Date”), Borrower still oves amounts under the Note and the Security Instrument, as
amended by this Agreement, Borrower will pay these amounts in full on the Maturity Date.

if all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's
prior written consent, Lender may require immediate payment in full of all sums secured by the

Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by the Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by

the Security Instrument without further notice or demand on Borrower.

Borrower also will comply with all other covenants, agreements, and requirements of the Security
Instrument, including without limitation, Borrower's covenants and agreements to make all
payments of taxes, insurance premiums, assessments, escrow items, impounds, and ali other
payments that Borrower is obligated to make under the Security Instrument; however, the
following terms and provisions are forever canceled, null and void, as of the date specified in

paragraph No. 1 above:

(a) all terms and provisions of the Note and Security Instrument (if any) providing for,
implementing, or relating to, any change or adjustment in the rate of interest payable
under the Note, including, where applicable, the Timely Payment Rewards rate reduction,
as described in paragraph 1 of the Timely Payment Rewards Addendum to Note and
paragraph A.1. of the Timely Payment Rewards Rider. By executing this Agreement,
Borrower waives any Timely Payment Rewards tale reduction to which Borrower may

have otherwise been entitled; and

all terms and provisions of any adjustable rate rider, or Timely Payment Rewards Rider,
where applicable, or other instrument or document that is affixed to, wholly or partially
incorporated into, or is part of, the Note or Security Instrument and that contains any such

terms and provisions as those referred to in (a) above.

(b)

5. Borrower understands and agrees that:

(a) All the righls and remedies, stipulations, and conditions contained in the Sccurity
Instrument relating to default in the making of payments under the Security Instrument
shall also apply to default in the making of the modified payments hereunder.

(b) All covenants, agreements, stipulations, and conditions in the Note and Security
Instrument shall be and remain in full force and effect, except as herein modified, and

LOAN MODIFICATION AGREEMENT—Single Family—Fannie Mae Uniform Instrument Form 3179 1/01 (rev. 06/12)
(page 2 of 5)

8300 06/12
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 50 of 59

none of the Borrower's obligations or liabilities under the Note and Security Instrument
shall be diminished or released by any provisions hereof, nor shall this Agreement in any
way impair, diminish, or affect any of Lender’s rights under or remedies on the Note and
Security Instrument, whether such rights or remedies arise thereunder or by operation of
law. Also, all rights of recourse to which Lender is presently entitled against any property
or any other persons in any way obligated for, or liable on, the Note and Security

Instrument are expressly reserved by Lender.

Nothing in this Agreement shall be understood or construed to be a satisfaction or release
in whole or in part of the Note and Security Instrument.

(c)

(d) All costs and expenses incurred by Lender in connection with this Agreement, including
recording fees, title examination, and attorney's fees, shall be paid by the Borrower and
shall be secured by the Security Instrument, unless stipulated otherwise by Lender.

(e) Borrower agrees to make and execute such other documents or papers as may be
necessary or required to effectuate the terms and conditions of this Agreement which, if
approved and accepted by Lender, shall bind and inure to the heirs, executors,

administrators, and assigns of the Borrower.

By this paragraph, Lender is notifying Borrower that any prior waiver by Lender of Borrower's
obligation to pay to Lender Funds for any or all Escrow Items is hereby revoked, and Borrower

has been advised ot the amount needed to fully fund the Escrow Items.

6.

LOAN MODIFICATION AGREEMENT---Single Family—Fannie Mae Uniform Instrument Form 3179 1/01 (rev. 06/12)
(page 3 of 5)

8300 06/12
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 51 of 59

in Witness Whereof, the Lender and | have executed this Agreement.

i
ae POO Nee (Seal)

DANIEL GALVIN -Borrower

 

[Space Below This Line For Acknowledgments]

 

WI6 (CCESTEM County ss :

Commonwealth of Massachusetts,

? bx — .
On this ao day of (C70BE?___, 20 44 before me, the undersigned notary public, personally
appeared §-§ DAaveEc — arPLV/

(document signer) proved to me through satisfactory evidence of identification, which were
a _ to be the person whose name is signed on the preceding or attached

Pie.
CT PRY. (she) signed it voluntarily for its stated purpose.
Wy VU - tt

Offig’al Signature and Seal of Notary

 

LOAN MODIFICATION AGREEMENT-—Single Family—Fannie Mae Uniform Instrument Form 3179 1/01 (rev. 06/12)
(page 4 of 5)

8300 06/12
Case 4:17-cv-40123-DHH Document 15-1

NATIONSTAR MORTGAGE LLC

Filed 02/09/18 Page 52 of 59

 

By: tol (Seal)
- Lender
Name Neatal. Te ison
Title Qin °
3
oe Gal

 

Date of Lender's Signature

 

State of TANS ;
on this 7)/ 16 C64
! Le

appeared

[Space Below This Line For Acknowledgments]

DPutee,

i, 20 1C-efore me, the undersigned notary public, personally

«rufa rathe
Nationstar Mortgage

 

County ss:

Representative

(document signer) proved to me through satisfactory evidence Of identification, which were
, to be the person whose name is signed on

the preceding or
stated purpose

 

 

Official Signature and Seal of Notary~

of

ae document, and acknowledged to me that (he) (she) signed it voluntarily for its

 

Form 3179 1/01 (rev. 06/12)

LOAN MODIFICATION AGREEMENT—Single Family—Fannie Mae Uniform Instrument

8300 06/12

(page 5 of 5)
 

Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 53 of 59

Total Pages: 2
Bk 834642 FPs1352 e2OLe¢>
12-08-2015 @ 12553p

REDACTE

HUAN

CORPORATE ASSIGNMENT OF MORTGAGE
Worcester North, Massachuse
SELLER'S SERVICING aa "GALVIN"
MIN 4: (ED Sis 4: 1-888-679-6377

Date of Assignment: November 2nd, 2015
Assignor: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC, A DELAWARE

CORPORATION, ITS SUCCESSORS AND/OR ASSIGNS at P.O. BOX 2026, FLINT, MI 48501
Assignee: NATIONSTAR MORTGAGE LLC at 8950 CYPRESS WATERS BLVD, COPPELL, TX

75019

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC has a mailing address at P.O. BOX
2026, FLINT, MI 48501-2026

 

 

Executed By: DANIEL J. GALVIN, A SINGLE MAN To: MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC. AS NOMINEE FOR C & G FINANCIAL SERVICES, INC.
Date of Mortgage: 10/04/2002 Recorded: 10/04/2002 in Book/Reel/Liber: 4356 Page/Folio: 80 as
Instrument No.: 28333 In the County of Worcester North, State of Massachusetts.

Property Address: 12 WALDEN COURT, LEOMINSTER, MA 01453

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, the said Assignor hereby assigns unto the above-named
Assignee, the said Mortgage having an original principal sum of $283,500.00 with interest, secured
thereby, and the full benefit of all the powers and of all the covenants and provisos therein contained, and

62
ip
= = the said Assignor hereby grants and conveys unto the said Assignee, the Assignor's interest under the
mw < Mortgage.
ws
O ;
o © TOHAVEAND TO HOLD the said Mortgage, and the said property unto the said Assignee forever,
3 a {ul subject to the terms contained in said Mortgage.
Oo
2 z = MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. A DELAWARE CORPORATION,
&.= 6 ITS SUCCESSORS AND/OR ASSIGNS
& © 4 On November 2nd, 2015 CERTIFICATION

 

The undersigned, an attorney at law. certifies that

this copy of the foregoing. furnished by undersigned

has been compared by undersigned with the oriving
fat-said copy ts a true comple

 
    
 
 

By:__|
VALENCIA MET’
Assistant Secretary

 

 

 

“MB2"MB2NATT4 1/02/2015 11:34:15 AM* NATTO1NATTA000000000000000162237* MAWORCE* 0597735356 MASTATE_MORT_ASSIGN_ASSN “BHENATT™

Recording Requested By:

Nationstar Mortgage

When Recorded Retum To:

DOCUMENT ADMINISTRATION

Nationstar Mortgage

8950 CYPRESS WATERS BLVD

COPPELL, TX 75019 EXHIBIT

©

tabbies’

 

 
 

8462 Pg153 #20189

Bk
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 54 of 59

CORPORATE ASSIGNMENT OF MORTGAGE Page 2 of 2

STATE OF Texas
COUNTY OF Denton

On November 2nd, 2015, before me, DARLA D. DUNCAN, a Notary Public in and for Denton in the
State of Texas, personally appeared VALENCIA METCALF, Assistant Secretary, personally known to me
(or proved to me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are subscribed
io the within instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity, and that by his/her/their signature on the instrument the person(s), or thé entity upon

behalf of which the person(s) acted, executed the instrument. .

WITNESS my hand and official seal,

pOQ2 2 QO.

DARLA D. DUNCAN
Notary Expires: 07/25/2019
(This area for notarial seal)

  
  
  
 

 
 
 

sh Pe DARLA BD. DUNC
Pe Notary Public, State A Noais
My Commission Explras
July 25, 2019

    

    

one
Le oe WE

ae

    
    

 

ATTEST NO. WORG. REGISTRY OF DEECS
KATHLEEN REYNOLOS DAIGNEAULT, REGISTER

*MB2*MBZNATT "11/02/2016 11:34:15 AM* NATTO1NATTAG00000000000000162237* MAWORCE* 0597735356 MASTATE_MORT_ASSIGN_ASSN =BHENATT™

 

 
2/6/2018 Case 4:17-c¥-40123-DHHtsiDecurtienE ists "PiedO2ZM9ONBePage!SStof 59

Alex Padilla
Callfornia Secretary of State

Q. Business Search - Entity Detail

The Califomta Business Search Is updated dally and reflects work processed through Monday, February 5, 2018. Please refer to document Processing Times far the received dates of filings
currently being processed, The data provided is not a complete or certified record of an entity. Not all images are available online.

C1721124 C&G FINANCIAL SERVICES, INC.

Reglstration Date: 03/03/1993
Jurisdiction: CALIFORNIA
Entity Type: DOMESTIC STOCK
Status: SOS/FTB SUSPENDED
Agent for Service of Process: CARLOS J REMIS
1425 W FOOTHILL BLVD STE 210
UPLAND CA 91786
Entlty Address: 1425 W FOOTHILL BLVD STE 210
UPLAND CA 91786
Entity Malling Address: 1425 W FOOTHILL BLVD STE 210
UPLAND CA 91786
Document Type §t File Date UF PDF
SI-NO CHANGE 01/10/2007
SI-COMPLETE 02/11/1998 Image unavailable. Please request paper copy.
REGISTRATION 03/03/1993 Image unavailable, Plaase request paper copy.

* Indicates the Information Is not contained Im the California Secretary of State's database.

service upon corporations thal have surrendered.
For information on checking or reserving a name, refer to. Name Availability.

search for records, refer to Information Requests.
For help with searching an entity name, refer to Search Tips.

Modify Search New Search Back to Search Results

hlips://businesssearch.sos.ca.gov/CBS/Detail

For descriptions of the various fields and status types, refer to Frequently Asked Questions.

If the Image is not available online, for Information on ordering a copy refer to Information Requests.
For information on ordering certificates, status reports, certified copies of documents and copies of documents not currenily avallable In the Business Search or to request a more extensive

If the status of the corporation Is "Surrender," the agent for service of process is automatically revoked. Please refer to Callfomla Corporations Code section 2114 for Information relating to

EXHIBIT
2/6/2018 Case 4:17-cv-40123-DHH S8eGnfeht ts" Flee'82760/18 Page 56 of 59

  

William Francis Galvin
Secretary of the Commonwealth of Massachusetts

 

Corporations Division
Business Entity Summary

ID Number: 000872606 Request certificate | New search |

Summary for: C & G FINANCIAL SERVICES, INC.

 

The exact name of the Foreign Corporation: C & G FINANCIAL SERVICES, INC.

 

Entity type: Foreign Corporation

 

 

 

Identification Number: 000872606 Old ID Number:
Date of Registration in Massachusetts:

07-20-2004

Date of Involuntary Revocation: 06-18- Last date certain:
2012

 

Organized under the laws of: State: CA Country: USA on: 03-03-1993

 

Current Fiscal Month/Day: 12/31

 

The location of the Principal Office:

Address: 1425 W. FOOTHILL BLVD., #210

City or town, State, Zip code, UPLAND, CA 91786 USA
Country:

The location of the Massachusetts office, if any:

 

Address: 225 FRANKLIN ST. 26TH FLOOR

City or town, State, Zip code, BOSTON, MA 02110 USA
Country:

The name and address of the Registered Agent:

 

 

 

 

 

 

 

 

Name:
Address:
City or town, State, Zip code,
Country:
The Officers and Directors of the Corporation:
Title Individual Name Address
PRESIDENT CARLOS J. REMIS 1425 W. FOOTHILL BLVD., #210 UPLAND,
CA 91786 USA
TREASURER GAIL V. REMIS 1425 W. FOOTHILL BLVD., #210
CA 91786 USA EXHIBIT
SECRETARY GAIL V. REMIS 1425 W. FOOTHILL BLVD., #21
CA 91786 USA < 2

 

 

 

 

 

http'//carp sac stata ma us/CorpWeh/CorpSearch/CorpSummary.aspx?FEIN=000872606&SEARCH_TYPE=1

 

  
2/6/2018 Case 4:17-cv-40123-DHH DeeGgarentts<t'e'Filed'@2/09/18 Page 57 of 59

 

 

VICE PRESIDENT | MICHAEL D. HAYES 1425 W. FOOTHILL BLVD. #210 UPLAND,
CA 91786 USA

DIRECTOR GAIL V. REMIS 1425 W. FOOTHILL BLVD., #210 UPLAND,
CA 91786 USA

DIRECTOR CARLOS J. REMIS 1425 W. FOOTHILL BLVD., #210 UPLAND,
CA 91786 USA

 

 

 

 

 

 

Business entity stock is publicly traded:

 

The total number of shares and the par value, if any, of each class of stock which
this business entity is authorized to issue:

 

 

 

 

 

 

 

 

Total Authorized Total issued anc
outstanding
Class of Stock Par value per share
No. of shares Total par No. of shares
value
CNP $ 0.00 10,000 $0.00 10,000
Confidential Merger
Consent Data Allowed Manufacturing
View filings for this business entity:
ALL FILINGS / -
Amended Foreign Corporations Certificate
Annual Report
Annual Report - Professional
Application for Reinstatement =|

Ate I

| View filings |

 

 

Comments or notes associated with this business entity:

 

 

 

 

| New search |

http://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?FEIN=000872606&SEARCH_TYPE=1 2/2
Case 4:17-cv-40123-DHH

01/30/2017

Doonan, Graves & Longoria, LLC
100 Cummings Center

Suite 225D

Beverly, MA 01915

Borrower/Property: DANIEL GALVIN

Document 15-1 Filed 02/09/18 Page 58 a.

Nationstar’

MORTGAGE

REDACTED

CERTIFICATION

he uncersigned, an attorney at law. certifies that
‘is coo of the foregoing, furnished by undersigned
mis ooo compared by undersigned with the original
‘nw thai said copy is a true complete copy thereof

12 WALDEN CT
LEOMINSTER, MA 01453 — [— = eet

Brien C. Larcher, fap) Dhotoroe
Loan Number: ‘ ef SE CSE?

As requested, the following documents/files are enclosed and are being provided to you for use in the foreclosure
and/or bankruptcy proceedings relating to the above-referenced Borrower/Property

Collateral File containing:
e Assignment (Recorded Original) x7
e Modification (Original) x2
e Note (Original)
e Security Instrument (Recorded)
e = Title Policy (Original)

IMMEDIATELY upon receipt of this letter and the enclosed documents/files, you are required to sign and date this
acknowledgement and agreement letter and upload it to the LPS Desktop or mail it to our office. If you fax or scan the
signed letter, you must contact the NSM processor for instructions for where to send it. You agree that Nationstar

Mortgage LLC (NSM) may enforce the faxed/scanned copy of this signed letter against you.

NSM is required by Investors to track the location of all original documents. As soon as you no longer need to have
possession of the enclosed documents/files, you are instructed to return them to NSM at the following address:

Iron Mountain-NSMTG
4117 Pinnacle Point Dr
Suite 100

Dallas, TX 75211

You acknowledge and agree that all of the enclosed documents are being provided to you and are to be held by you, as
agent for and Bailee of, and subject to the direction of, Nationstar Mortgage LLC. You agree: (a) to hold and retain
possession of, and to use, the enclosed documents in trust for the benefit of Nationstar Mortgage LLC and solely for the
purposes of foreclosure and/or bankruptcy proceedings regarding the above-referenced Borrower and Property; (0) to

comply promptly and faithfully with all directions or instructions to you from Nationstar Mortgage LL
enclosed documents; (c) that you will not cause or knowingly permit the enclosed documents/files to EXHIBIT

 
 
  

www.NationstarMtg.com
Case 4:17-cv-40123-DHH Document 15-1 Filed 02/09/18 Page 59 of 59

Nationstar’

MORTGAGE

or encumbered by, any claim, liens, security interest, charges, writs of attachment or other impositions; (d) that you will
not assert or seek to assert any claims or rights of setoff to or against the enclosed documents or any proceeds thereof;
(e) that the enclosed documents/files and any proceeds thereof, including any proceeds of proceeds, coming into your
possession, custody or control will at all times be earmarked for the account of Nationstar Mortgage LLC; and (f) that you

will keep the enclosed documents/files and any proceeds thereof separate and distinct from all other property in your

possession, custody or control.

You also agree to indemnify and hold harmless Nationstar Mortgage LLC and its affiliates against and from any losses,
damages, costs or expenses, including reasonable attorneys’ fees, that are suffered or incurred by Nationstar Mortgage
LLC or its affiliates as a result of (a) any breach by you of the terms of this acknowledgement and agreement letter
and/or (b) any loss or destruction of, or any damage or unauthorized (by Nationstar Mortgage LLC) alteration to, any of

the enclosed documents/files while they are in your possession or custody or are under your control.

Thank you for your cooperation.
Nationstar Mortgage LLC
Document Control Department

BY MY SIGNATURE BELOW, | ACKNOWLEDGE RECEIPT OF THE DOCUMENTS/FILES LISTED ABOVE AND AGREE TO THE
TERMS OF THIS LETTER AND FURTHER STATE THAT | AM AUTHORIZED TO SIGN THIS LETTER AND AGREE ON BEHALF

OF THE RECIPIENT FIRM.

Doonan, Graves & Longoria, LLC

By: KUM bik Print Name: Ky Ishin LA | bial

Title: ( o LA GAqtM 5 Ligh Date: cy) [ { Ly ]

UPON RECEIPT YOU MUST RETURN BOTH PAGES OF THE SIGNED COPY OF THIS LETTER BY
UPLOAD TO LPS DESKTOP OR MAILING TO NATIONSTAR MORTGAGE LLC, 4117 PINNACLE POINT DR, SUITE 100,

DALLAS, TX 75211.

 

www.NatlionslarMig.com

rt
7
